      Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 1 of 115




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


BOSTON RETIREMENT SYSTEM,                       Civ. No. 3:16-cv-2127 (AWT)
Individually and On Behalf of All Others
Similarly Situated,
                                                CLASS ACTION
                              Plaintiff,
                                                CONSOLIDATED CLASS ACTION
       vs.                                      COMPLAINT FOR VIOLATION OF
                                                THE FEDERAL SECURITIES LAWS
ALEXION PHARMACEUTICALS, INC.,
LEONARD BELL, DAVID L. HALLAL,                  JURY TRIAL DEMANDED
VIKAS SINHA, DAVID BRENNAN,
DAVID J. ANDERSON, LUDWIG N.
HANTSON, and CARSTEN THIEL

                              Defendants.




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          Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 2 of 115




                                                 TABLE OF CONTENTS
                                                                                                                                      Page

I.     NATURE OF THE ACTION ................................................................................................ 2

II.    JURISDICTION AND VENUE ............................................................................................ 3

III.   THE PARTIES....................................................................................................................... 4

         A. Lead Plaintiffs............................................................................................................... 4

         B. Defendants .................................................................................................................... 5

IV. FACTUAL ALLEGATIONS ................................................................................................ 8

         A. Alexion’s Founding and Discovery of Soliris .............................................................. 8

         B. Soliris Was Critically Important to Alexion’s Business Prospects............................. 10

         C. Alexion Delays the Filing of Its Form 10-Q and Reveals That the
            Company Is Investigating Its Sales Practices ............................................................. 12

         D. During the Internal Investigation, Defendants Hallal and Sinha Resign .................... 15

         E. Alexion Reveals It Used Improper Sales Tactics, Had a Material
            Weakness in Its Internal Controls, and That Senior Management Set an
            Inappropriate “Tone at the Top” ................................................................................. 17

         F. Alexion Again Acknowledges That Senior Management Set an
            Inappropriate “Tone at the Top” ................................................................................. 21

         G. Brazilian Authorities Raid Alexion’s Offices in São Paulo........................................ 22

         H. Alexion Announces Additional Resignations by Senior Management....................... 24

         I. Additional Details About Alexion’s Unethical and Illegal Sales Tactics
            Come to Light ............................................................................................................. 26

               1. Alexion Relied on Fear Tactics and Company-Paid Nurses to
                  Drive Sales of Soliris ............................................................................................ 27

               2. Alexion Improperly Used “Partner Labs” to Identify Potential
                  Customers ............................................................................................................. 28

               3. Alexion Funded Patient Advocacy Groups and Engaged in Related
                  Unethical Business Practices in Brazil ................................................................. 30

V.     DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
       STATEMENTS AND OMISSIONS ................................................................................... 33


                                                                  -i-
Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 3 of 115




A. Alexion Touted the Company’s Financial Results, Provided Earnings
   Guidance, and Discussed Sales of Soliris in Brazil Without Disclosing
   the Company’s Reliance on Illegal Sales Tactics ....................................................... 34

     1. January 30, 2014 Press Release and Earnings Conference Call ........................... 35

     2. April 24, 2014 Press Release and Earnings Call................................................... 38

     3. July 24, 2014 Press Release and Earnings Conference Call ................................. 41

     4. October 23, 2014 Press Release and Earnings Conference Call........................... 43

     5. January 29, 2015 Press Release and Earnings Conference Call ........................... 45

     6. April 23, 2015 Press Release and Earnings Conference Call ............................... 47

     7. July 30, 2015 Press Release and Earnings Conference Call ................................. 50

     8. October 29, 2015 Press Release and Earnings Conference Call........................... 51

     9. December 10, 2015 “Investor Day” Conference .................................................. 54

     10. January 12, 2016 J.P. Morgan Health Care Conference ....................................... 56

     11. February 3, 2016 Press Release and Earnings Conference Call ........................... 58

     12. March 16, 2016 Barclays Global Health Conference ........................................... 61

     13. April 28, 2016 Press Release and Earnings Conference Call ............................... 62

     14. May 10, 2016 Bank of America Merrill Lynch Health Care
         Conference ............................................................................................................ 66

     15. July 28, 2016 Press Release and Earnings Conference Call ................................. 67

     16. September 13, 2016 Morgan Stanley Global Health Care
         Conference ............................................................................................................ 71

     17. October 27, 2016 Press Release and Earnings Conference Call........................... 72

     18. February 16, 2017 Press Release and Earnings Conference Call ......................... 74

     19. April 27, 2017 Press Release and Earnings Call................................................... 77

B. Alexion’s Codes of Ethics and Conduct Misrepresented and Concealed
   the Company’s Unethical Sales Practices................................................................... 80

C. Defendants Executed SOX Certifications Concerning the Company’s
   Internal Controls ......................................................................................................... 89


                                                        - ii -
           Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 4 of 115




VI. ADDITIONAL ALLEGATIONS OF SCIENTER.............................................................. 92

VII. LOSS CAUSATION............................................................................................................ 98

VIII. PRESUMPTION OF RELIANCE..................................................................................... 100

IX. INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND
    BESPEAKS CAUTION DOCTRINE ............................................................................... 101

X.      CLASS ACTION ALLEGATIONS .................................................................................. 102

XI. CAUSES OF ACTION ...................................................................................................... 104

COUNT I FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
   AND SEC RULE 10b-5 PROMULGATED THEREUNDER (Against
   Defendant Alexion and the Individual Defendants) .......................................................... 104

COUNT II FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
   (Against Defendants Bell, Hallal, Sinha, Brennan, Anderson, Hantson, and
   Thiel).................................................................................................................................. 108

XII. PRAYER FOR RELIEF .................................................................................................... 109

XIII. JURY TRIAL DEMANDED............................................................................................. 110




                                                                   - iii -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 5 of 115




       Lead Plaintiffs Erste-Sparinvest Kapitalanlagegesellschaft mbH and the Public Employee

Retirement System of Idaho, by their undersigned attorneys, bring this action under Sections

10(b) and 20(a) of the U.S. Securities Exchange Act of 1934 (the “Exchange Act”), and

Securities and Exchange Commission (the “SEC”) Rule 10b-5 promulgated thereunder, on

behalf of themselves and all others similarly situated who purchased or otherwise acquired the

publicly traded common stock of Alexion Pharmaceuticals, Inc. (“Alexion” or the “Company”)

between January 30, 2014 and May 26, 2017, inclusive (the “Class Period”).

       Lead Plaintiffs allege the following upon personal knowledge as to themselves and their

own acts, and upon information and belief as to all other matters. Lead Plaintiffs’ information

and belief are based on, among other things, the independent investigation of Court-appointed

Co-Lead Counsel Labaton Sucharow LLP and Motley Rice LLC. This investigation has

included, among other things, a review and analysis of: (i) public filings by Alexion with the

SEC; (ii) public reports and news articles; (iii) research reports by securities and financial

analysts; (iv) economic analyses of securities movement and pricing data; (v) transcripts of

investor calls with Alexion senior management; (vi) publicly available legal proceedings; and

(vii) other publicly available material and data identified herein. Co-Lead Counsel’s

investigation into the factual allegations contained herein is continuing, and many of the facts

supporting the allegations contained herein are known only to the Defendants (as defined herein)

or are exclusively within their custody or control. Lead Plaintiffs believe that further substantial

evidentiary support will exist for the allegations contained herein after a reasonable opportunity

for discovery.
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 6 of 115




I.      NATURE OF THE ACTION

        1.      Defendant Alexion is a pharmaceutical company that sells drugs that treat ultra-

rare diseases. Alexion generates the vast majority of its revenue from selling one of the world’s

most expensive drugs, Soliris, which costs patients between $500,000 and $700,000 a year, but is

used by only approximately 11,000 patients worldwide due to the extreme rarity of the two

conditions it treats.

        2.      Despite the relatively small pool of potential customers, Alexion continually

impressed investors throughout the Class Period with strong sales and projected revenue growth.

The Company repeatedly attributed these figures to a variety of legitimate sales and marketing

strategies generally aimed at increasing awareness of Soliris and its efficacy in treating two

potentially life-threatening diseases. During the same period, the Company also touted its

commitment to adherence to the highest ethical standards in the industry and all applicable laws

in marketing its products both in the United States and abroad.

        3.      Beginning in November 2016, however, information began to surface through a

series of revelations that showed an undisclosed and much darker side of Alexion’s sales and

marketing strategy. In fact, Alexion’s senior management exerted enormous pressure on

employees to use a variety of illegal and improper tactics to “pull in” sales of Soliris—an

unsustainable business practice that was not disclosed to investors during the Class Period.

“Pulling in” generally refers to sales and marketing practices that induce consumers to purchase

products beyond their current actual needs.

        4.      Starting in November 2016 and continuing even as of the filing of this

Consolidated Complaint, a slew of revelations by law enforcement officials, investigative

reporters, and by the Company itself have shown that for the last several years Alexion has been

engaged in a wide-range of illegal and grossly unethical practices to pull in sales, including:


                                                -2-
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 7 of 115




               (a)     Funding lawsuits in Brazil demanding that the government purchase

Soliris for people with false diagnoses;

               (b)     Obtaining patient information from testing labs in the United States

without the patients’ consent in order to target potential Soliris customers; and

               (c)     Using Company-paid nurses to improperly urge doctors and patients to

continue prescribing Soliris and/or switch to a doctor who would prescribe Soliris, telling them

that they could die if they stopped using the drug.

       5.      Worse still, Alexion’s conduct was not only known to, but actually driven by,

executive management, in what the Company has publicly admitted was an inappropriate “tone

at the top.” The problem was so central and pervasive that it led abruptly to the ousters of the

Company’s CEO and, not one, but two Chief Financial Officers in the last six months.

       6.      These revelations concerning the true nature of Alexion’s marketing practices

have understandably shaken the market, because for years Alexion had attributed their strong

sales results and projections entirely to legitimate tactics. Analysts and investors have now

begun to understand that Alexion’s reported revenue has, in fact, been based on unsustainable

business practices that will negatively impact the Company’s revenues now that those practices

have been revealed and abandoned. Alexion materially misled investors about its marketing

practices and omitted crucial information about its actual strategy every time it made disclosures

concerning its revenue. As a result, Alexion’s investors have suffered huge losses now that the

true nature of its business is known.

II.    JURISDICTION AND VENUE

       7.      The claims asserted herein arise pursuant to Sections 10(b) and 20(a) of the

Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and SEC Rule 10b-5 promulgated thereunder, 17

C.F.R. § 240.10b-5.


                                                -3-
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 8 of 115




        8.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1337, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

        9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act, 15 U.S.C. § 78aa. Many of the acts and transactions that constitute violations

of law complained of herein, including the dissemination to the public of untrue statements of

material facts, occurred in this District.

        10.     In connection with the acts alleged herein, Defendants, directly or indirectly, used

the means and instrumentalities of interstate commerce, including but not limited to the mails,

interstate telephone communications, and the facilities of a national securities exchange.

III.    THE PARTIES

        A.      Lead Plaintiffs

        11.     Lead Plaintiff Erste-Sparinvest Kapitalanlagegesellschaft mbH (“Erste-

Sparinvest”) is an investment company based in Vienna, Austria. As part of Erste-Sparinvest’s

asset management services, it is responsible for managing mutual funds, private funds, and

institutional funds. On April 12, 2017, the Court appointed Erste-Sparinvest as Lead Plaintiff for

this litigation. As set forth in the certification filed with this Court (ECF No. 13-1) and in a

forthcoming certification, Erste-Sparinvest, on behalf of its funds, purchased Alexion common

stock during the Class Period, and suffered damages as a result of Defendants’ fraud.

        12.     Lead Plaintiff Public Employee Retirement System of Idaho (“PERSI”) is a

public pension fund that provides retirement, disability, survivor, and other benefits to more than

135,000 members in the state of Idaho. PERSI has approximately $15.9 billion assets under

management. On April 12, 2017, the Court appointed PERSI as Lead Plaintiff for this litigation.

As set forth in the certification attached hereto, PERSI purchased Alexion common stock during

the Class Period, and suffered damages as a result of Defendants’ fraud.


                                                -4-
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 9 of 115




       B.      Defendants

       13.     Defendant Alexion is a biopharmaceutical company that develops and

commercializes products to treat patients with ultra-rare disorders. Based in New Haven,

Connecticut, the Company was incorporated in 1992. Until the fourth quarter of 2015, Soliris, a

drug designed to treat rare blood disorders, was Alexion’s only marketed product, and it

remained the Company’s principal source of revenue throughout the remainder of the Class

Period. Alexion went public in 1996 and its stock trades on NASDAQ, which is an efficient

market, under ticker symbol “ALXN.” As of April 24, 2017, Alexion had over 224 million

shares of stock outstanding, owned by thousands of investors.

       14.     Defendant Leonard Bell was the principal founder of Alexion and served as the

Chief Executive Officer (“CEO”) of the Company from January 1992 to March 31, 2015. Bell

served as Chairman of Alexion’s Board of Directors (the “Board”) from October 2014 to May

10, 2017. As CEO, Bell reviewed, approved, and signed Alexion’s false and misleading SEC

filings. Bell also reviewed and approved false and misleading press releases and Forms 8-K

issued by Alexion during the Class Period. Bell also participated in conference calls with

securities analysts, during which Alexion’s false and misleading statements filed with the SEC

and included in press releases were presented and discussed.

       15.     Defendant David L. Hallal served as Alexion’s Chief Executive Officer from

April 1, 2015, until his resignation on December 12, 2016. From May 2010 and October 2012,

Hallal was Senior Vice President, Global Commercial Operations. From November 2008 to

May 2010, Hallal was Senior Vice President, Commercial Operations Americas. From June

2006 until November 2008, Hallal was Senior Vice President, US Commercial Operations. As

CEO, Hallal reviewed, approved, and signed Alexion’s false and misleading SEC filings. Hallal

also reviewed and approved false and misleading press releases and Forms 8-K issued by


                                              -5-
         Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 10 of 115




Alexion during the Class Period. Hallal also participated in conference calls with securities

analysts, during which Alexion’s false and misleading statements filed with the SEC and

included in press releases were presented and discussed.

         16.   Defendant Vikas Sinha served at all relevant times as Alexion’s Chief Financial

Officer (“CFO”) and Executive Vice President, until his resignation on December 12, 2016. As

CFO, Sinha reviewed, approved, and signed Alexion’s false and misleading SEC filings. Sinha

also reviewed and approved false and misleading press releases and Forms 8-K issued by

Alexion during the Class Period. Sinha also participated in conference calls with securities

analysts, during which Alexion’s false and misleading statements filed with the SEC and

included in press releases were presented and discussed.

         17.   Defendant David Brennan served as Alexion’s interim CEO from December 12,

2016, until March 27, 2017, when he was replaced by Defendant Hantson. As interim CEO,

Brennan reviewed, approved, and signed Alexion’s false and misleading SEC filings. Brennan

also reviewed and approved false and misleading press releases and Forms 8-K issued by

Alexion during the Class Period. Brennan also participated in conference calls with securities

analysts, during which Alexion’s false and misleading statements filed with the SEC and

included in press releases were presented and discussed. Brennan is still on the Company’s

Board.

         18.   Defendant David J. Anderson has served as Alexion’s CFO since December 12,

2016. As detailed below, on May 23, 2017, the Company announced that Anderson would

resign as CFO. On June 13, 2017, the Company announced that Anderson would serve as CFO

until July 31, 2017, at which point he will be replaced by Paul J. Clancy. As CFO, Anderson

reviewed, approved, and signed Alexion’s false and misleading SEC filings. Anderson also




                                               -6-
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 11 of 115




reviewed and approved false and misleading press releases and Forms 8-K issued by Alexion

during the Class Period. Anderson also participated in conference calls with securities analysts,

during which Alexion’s false and misleading statements filed with the SEC and included in press

releases were presented and discussed.

       19.     Defendant Ludwig N. Hantson has served as Alexion’s CEO since March 27,

2017, when the Board approved him to replace interim CEO Brennan. As CEO, Hantson

reviewed, approved, and signed Alexion’s false and misleading SEC filings. Hantson also

reviewed and approved false and misleading press releases and Forms 8-K issued by Alexion

during the Class Period. Hantson also participated in conference calls with securities analysts,

during which Alexion’s false and misleading statements filed with the SEC and included in press

releases were presented and discussed.

       20.     Defendant Carsten Thiel served as Alexion’s Chief Commercial Officer (“CCO”)

from September 2015 until June 1, 2017. Defendant Thiel participated in conference calls with

securities analysts, during which Alexion’s false and misleading statements filed with the SEC

and included in press releases were presented and discussed.

       21.     Defendants Bell, Hallal, Sinha, Brennan, Anderson, Hantson, and Thiel are

collectively referred to as the “Individual Defendants” and, together with Alexion, as the

“Defendants.” The Individual Defendants directly participated in the management of Alexion’s

operations, including its accounting and reporting functions, had the ability to and did control

Alexion’s financial reporting, and were privy to confidential information concerning Alexion and

its business, operations, and financial statements, as alleged herein. They were also involved in

drafting, reviewing, publishing, and/or disseminating the false and misleading financial

statements and information alleged herein, were aware, or recklessly disregarded, that the false




                                               -7-
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 12 of 115




and misleading statements were being issued, and approved or ratified these misstatements in

violation of the federal securities laws.

IV.    FACTUAL ALLEGATIONS

       A.      Alexion’s Founding and Discovery of Soliris

       22.     Alexion, a biopharmaceutical company that focuses on developing and

commercializing drugs for patients with severe and ultra-rare disorders, was founded in 1992 by

Defendant Bell, then a 33-year-old cardiologist.

       23.     Initially, Defendant Bell envisioned that his company would focus on treating a

wide range of more common diseases and ailments.

       24.     At the time Alexion was founded, Defendant Bell was focused on developing

drugs that harnessed the power of a part of the body’s own immune response, known as the

complement cascade, which helps the blood stream eliminate damaged cells and bacteria.

Although sometimes this protective immune response can cause harm to the body, such as when

a body rejects a transplanted organ, Defendant Bell reasoned that if he could figure out how to

limit the complement cascade in certain situations, he could develop drugs that use complement

blockers to solve a variety of medical problems, including rheumatoid arthritis, skin disease,

kidney disease, and the heart inflammation that occurs during heart attacks—ailments that affect

a large segment of the population. With this business strategy in mind, Defendant Bell launched

Alexion.

       25.     Funding this new venture proved challenging. Worse yet, it became increasingly

clear that the complement blockers in the body could not be harnessed in a way that Defendant

Bell had initially planned, and therefore would not make good drugs for wide use.

       26.     But then, in 1995, as the Company was on the verge of closure, Alexion

discovered a breakthrough technology. At the time, other pharmaceutical companies were


                                               -8-
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 13 of 115




working to develop pig organs that could be implanted into humans, but were having trouble

figuring out how to prevent the body’s complement system from destroying the implanted

organs. While working with another company on an effort to create pig organs that could resist

human complement blockers, Alexion developed a new technology—a complement-blocking

antibody that later became known as Soliris.

       27.     This technological breakthrough helped Alexion attract investors, and, in 1996,

Alexion went public. Investors were attracted to the prospect that the antibody Alexion had

developed (i.e., Soliris) would be able to treat a wide range of ailments and diseases (and, thus, a

large number of patients), as Defendant Bell had initially planned for his company.

       28.     However, after Soliris went into production in 1997, tests to determine whether

Soliris would effectively treat these different diseases all failed. Ultimately, Defendant Bell’s

vision of harnessing the complement cascade to create drugs that treat a multitude of diseases

proved unachievable. The problem, as Defendant Bell later explained, was that he was looking

for big markets for Soliris, rather than the right markets, and he “kind of went with the crowd

thinking as to how to build a business.”1

       29.     But then, in 2002, Alexion stumbled upon a new market for its drug, albeit an

extremely small one: a British researcher discovered that Soliris helped patients suffering from

the extremely rare blood disorder known as paroxysmal nocturnal hemoglobinuria (“PNH”),

which occurs when a patient’s complement system attacks red blood cells. Aware that they may

have discovered a treatment for this ultra-rare disease, Defendant Bell and his researchers spent

months designing studies to get Soliris approved to treat PNH.




1
 Matthew Herper, How a $440,000 Drug Is Turning Alexion Into Biotech’s New Innovation
Powerhouse, FORBES (Sept. 24, 2012).


                                                -9-
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 14 of 115




       30.      In March 2007, after years of research and clinical trials, the FDA granted

marketing approval for Soliris to treat PNH, and, in April 2007, Alexion began to sell Soliris

commercially in the United States. Soliris was later approved to treat PNH in Europe, Japan, and

Canada.

       31.     Years later, in September 2011, Soliris was approved by the FDA to treat patients

suffering from another ultra-rare blood disorder: atypical hemolytic uremic syndrome (“aHUS”),

a disease characterized by the destruction of red blood cells, low platelet count, and an inability

of the kidneys to process waste product from the blood. Soliris was later approved to treat aHUS

in Europe and Japan.

       32.     Soliris is the only drug approved to treat patients suffering from PNH and aHUS.

       B.      Soliris Was Critically Important to Alexion’s Business Prospects

       33.     Once Alexion was granted approval for Soliris, the Company had to figure out

how to generate enough revenue off a drug that, as of May 2017, treated only approximately

11,000 patients worldwide. Indeed, Defendant Hallal acknowledged as much during an

interview in 2015, explaining: “Back in 2007, the bear story on Alexion was, how do you even

make a business in this? Aren’t there just a few hundred people in the world living with PNH?”2

       34.     To successfully generate revenue, despite this obvious hurdle, Alexion embarked

on a two-pronged strategy: exorbitant pricing and aggressive sales tactics—including, as

detailed below, conduct that was improper and illegal.

       35.     Soliris is one of the most expensive drugs in the world, costing approximately

$500,000 to $700,000 per patient per year. Because Soliris is the only drug approved to treat




2
 Benjamin Elgin, Doni Bloomfield & Caroline Chen, When the Patient is a Gold Mine: The
Trouble With Rare-Disease Drugs, BLOOMBERG (May 24, 2017).


                                               - 10 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 15 of 115




PNH and aHUS, Alexion has substantial pricing power over the drug. The hefty price tag also

reflects the impact of the Orphan Drug Act, passed in 1983, which gives drug makers significant

financial and competition-reducing incentives to develop drugs that treat rare diseases, like PNH

and aHUS.

        36.    Because Soliris is so expensive, the drug has been tremendously profitable for the

Company, notwithstanding Soliris’s limited customer base. Buoyed by the Company’s

aggressive sales tactics, as detailed herein, net product sales for Soliris were $2.23 billion for the

year ended 2014, $2.59 billion for the year ended 2015, and $2.84 billion for the year ended

2016.

        37.    Sales of Soliris have also increased every year since the drug was approved in

2007, and have done so at an astounding rate: In 2008, the first full year in which Soliris was

sold, net product sales were approximately $259 million, rising to nearly $541 million in 2010,

$1.1 billion in 2012, $2.23 billion in 2014, and $2.84 billion in 2016.

        38.    Because Soliris has been so profitable for the Company, Alexion has for years

been able to rely solely on sales of Soliris to generate revenue. From the Company’s founding in

1992 until late 2015, Soliris was the only drug the Company sold. In short, Alexion is a “one-

drug” company.

        39.    Only recently has the Company taken steps to diversify its product offerings,

adding two new drugs to its portfolio through corporate acquisition. On May 6, 2015, Alexion

announced that it agreed to acquire Synageva BioPharma Corp. (“Synageva”) for $8.4 billion in

cash and stock. The acquisition was completed on June 23, 2015.

        40.    As part of the Synageva acquisition, Alexion added two new drugs to its portfolio:

Strensiq (which treats patients suffering from hypophosopatasia) and Kanuma (which treats




                                                - 11 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 16 of 115




patients suffering from Lyposomal Acid Lipase Deficiency), both of which were approved by the

FDA in 2015.

       41.     Still, even after Alexion began selling Stensiq and Kanuma, Soliris remains

responsible for nearly all of the Company’s revenue. For the year ended December 31, 2015 (the

year during which Stensiq and Kanuma were first approved for sale), Soliris was responsible for

more than 99% of the Company’s net product sales; for the year ended December 31, 2016,

Soliris was responsible for more than 90% of the Company’s net product sales.

       C.      Alexion Delays the Filing of Its Form 10-Q and
               Reveals That the Company Is Investigating Its Sales Practices

       42.     Alexion’s reliance on exorbitant pricing and aggressive and illegal sales tactics to

generate significant sales of Soliris worked quite well for a time: net product sales of Soliris

have more than doubled every two years between 2008 (the first full year Soliris was sold) and

2014, and continued to rise each year since.

       43.     However, beginning in November 2016, the market started to learn that the

Company has been relying on improper and unsustainable conduct to generate this revenue,

raising concerns about whether these impressive sales figures are sustainable.

       44.     Indeed, on November 4, 2016, before the market closed, Alexion abruptly

cancelled an appearance at the Credit Suisse Healthcare Conference, which was scheduled for

November 6-8, 2016. Analysts at Leerink Partners LLC (“Leerink”) spoke to the Company

about its decision to withdraw from the conference and revealed that Alexion’s only explanation

was that “something came up.”

       45.     Following the announcement that the Company would not attend the conference,

analysts also discovered that Alexion’s 10-Q filing was delayed, as compared to the Company’s

usual timing for filing its quarterly reports. Analysts at Leerink explained: “In the past the



                                               - 12 -
         Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 17 of 115




company typically files their ‘Q’ within one day of reporting their quarterly results. Even its 10-

K’s are filed within 7 days of reporting Q4 and full year results. This year, their results were

disclosed on October 27 [2016], and 8 days later the filing has still not occurred. In discussions

with the company they acknowledged the delay compared to their usual practice, and indicated

that they were ‘working hard’ to make the filing by the statutory due date, which is Wednesday

11.9.2016.”

         46.     On this news, Alexion’s stock price dropped $8.95 per share, or 6.94%, to close at

$120.05 on November 7, 2016.

         47.     Following this announcement, analysts at Leerink also identified suspicious

insider selling, explaining as follows in a report published on November 8, 2016:

                 As we have been carefully monitoring for SEC filings by Alexion,
                 we noticed yesterday that the company did post an unfortunately
                 timed notification of a significant stock sale by former CEO and
                 current chairman Leonard Bell. On Friday [November 4, 2016]
                 Mr. Bell exercised 36,649 options at prices between $136 and
                 $145, for a total sale of $5.23mm and a profit of $4.4mm.
                 Unsurprisingly these options were exercised as part of a Rule
                 10b5 sale program, but that will be cold comfort to longstanding
                 investors who would not have been able to take advantage of the
                 unusual volatility. That this volatility was associated with
                 cancelled investor conference appearances, (giving the impression
                 of a possible acquisition) but in reality was more likely to have
                 been connected with the aforementioned “administrative” issue,
                 will only add insult to injury.

                                                  ***

                 [W]e believe that the company’s board of directors must
                 necessarily be aware of the events, whatever they are.3

         48.     Just days later, on November 9, 2016, after the close of trading, Alexion issued a

press release in which it announced that it would not be able to timely file its Form 10-Q for the



3
    All emphasis added, unless otherwise noted.


                                                  - 13 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 18 of 115




third quarter ended September 30, 2016, revealing that the Company was investigating

allegations made by a former employee about sales practices of Soliris and whether those

practices violated company policy:

               Alexion Pharmaceuticals, Inc. (NASDAQ: ALXN) today
               announced that it has filed with the U.S. Securities and Exchange
               Commission (SEC) a Form 12b-25 Notification of Late Filing with
               regard to its Quarterly Report on Form 10-Q for the quarter ended
               September 30, 2016.

               The Audit and Finance Committee of the Board of Directors is
               conducting an investigation into allegations that recently have been
               made by a former employee with respect to the Company’s sales
               practices of Soliris® (eculizumab). Specifically, the Audit and
               Finance Committee is investigating whether Company personnel
               have engaged in sales practices that were inconsistent with
               Company policies and procedures and the related disclosure and
               other considerations raised by such practices. The Audit and
               Finance Committee has retained outside counsel to assist it in the
               investigation.

               At this point in time, the Audit and Finance Committee’s
               investigation has not identified instances where Soliris orders were
               not placed by customers for patients or any facts that require the
               Company to update its previously reported historical results. The
               Audit and Finance Committee and its counsel are working
               diligently to complete the investigation, but at this time it is
               uncertain when this investigation will be complete and what the
               results of such investigation will be.

       49.     On this news, Alexion’s stock price dropped $0.28 per share, or 0.22%, to close at

$126.88 per share on November 10, 2016. As the market continued to make sense of these

announcements, Alexion’s stock price dropped an additional $13.26 per share, or 10.45%, to

close at $113.62 on November 11, 2016.

       50.     Numerous analysts immediately reported on the situation. For example, on

November 9, 2016, Cowen and Company (“Cowen”) published a report, which stated: “We

believe the situation is serious, and will take weeks to resolve . . . .” The report further noted:




                                                - 14 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 19 of 115




               The News: Last week it became clear that Alexion’s 10-Q was
               delayed, causing much consternation in the investment community
               regarding the circumstances behind the delay. This afternoon, the
               company filed for an open-ended extension on its 10-Q citing the
               need to complete an ongoing investigation relating to accusations
               made by a former employee.

                                                ***

               In the meantime, ALXN shares have underperformed the biotech
               sectors since last Friday as investors have feared the worst . . . .

       51.     On November 10, 2016, Leerink issued a report that discussed the delayed Form

10-Q and management’s investigation of “fraudulent sales practices” and explained: “[f]rom our

conversation last night with management, it indeed seems likely that the resolution of this

investigation, and the clarification of the company’s re-statements, if needed, will take

potentially weeks rather than days.”

       52.     Leerink also appeared to predict that sales of Soliris would suffer now that

Defendants’ fraud, including the Company’s reliance on improper and illegal sales tactics to

boost revenue, had begun to come to light. Indeed, the report stated that “increased scrutiny and

tighter control of selling practices” would result in an “inevitable slowing in patient accrual”;

that “increased oversight” would put “pressure” on “new patient accrual”; and that “increased

disclosure requirements from commercial staff, and tighter controls on when revenue is

recognized” would “slow the wheels of the organization and bring down the rate of new patient

identification and initiation to treatment.”

       D.      During the Internal Investigation, Defendants Hallal and Sinha Resign

       53.     While the Company’s internal investigation was ongoing, on December 12, 2016,

before the market opened, Alexion announced that Defendant Hallal had resigned as CEO “for

personal reasons” and that Defendant Sinha had resigned as CFO “to pursue other opportunities.”




                                               - 15 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 20 of 115




Defendant David Brennan took over as interim CEO4 and Defendant David J. Anderson took

over as CFO, both effective immediately.

       54.     On news of these high-level resignations, Alexion’s stock price dropped from a

closing price of $132.07 per share on December 9, 2016, to a closing price of $115.08 per share

on December 12, 2016, or approximately 13%.

       55.     Analysts were surprised by the resignations, and specifically tied the resignations

to the findings of the Company’s investigation. For example, on December 12, 2016, Cowen

published a report describing the announcement as “An Unwelcome Surprise” and stating:

               We are surprised and saddened at today’s news as we had expected
               fairly quick resolution of the investigation into marketing practices
               without any fallout in senior management. We now believe the
               Board lost confidence in its senior leadership team, perhaps due
               to findings of unprofessional activity that were uncovered during
               the investigation, and decided that a changed needed to be made
               now.

       56.     Similarly, on December 12, 2016, RBC Capital Markets published a report that

stated: “The ‘Where there’s smoke . . .’ proverb appears to be true in the case of ALXN’s delay

of 10Q filing: CEO and CFO gone, filing to be completed (i.e., more news to come) ‘in January

2017 or earlier.’” The report also stated: “What started as an innocuous delay in filing of 3Q16

financials has turned out to be a serious problem for Alexion, costing the jobs of its CEO and

CFO, for starters.”

       57.     On December 13, 2016, as analysts and investors continued to react to the volatile

situation, the price of Alexion stock to dropped a further 4.4% from closing at $115.08 per share

on December 12, 2016, to closing that $110.01 per share on December 13, 2016.



4
 On March 27, 2017, Alexion issued a press release announcing that the Company’s Board had
appointed Defendant Hantson as CEO, effective immediately, succeeding Defendant Brennan,
who was until then the interim CEO.


                                              - 16 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 21 of 115




       E.      Alexion Reveals It Used Improper Sales Tactics, Had
               a Material Weakness in Its Internal Controls, and That
               Senior Management Set an Inappropriate “Tone at the Top”

       58.     On January 4, 2017, Alexion issued a press release in which it announced that,

after investigating allegations of improper sales tactics, the Company had identified a material

weakness in its internal controls, which was caused by senior management not setting an

appropriate “tone at the top.” The press release stated, in relevant part, that “the Company

concluded there was a material weakness in its internal controls over financial reporting that

existed as of December 31, 2015 and subsequent quarters, caused by senior management not

setting an appropriate tone at the top for an effective control environment.”

       59.     The January 4, 2017 press release also explained that the Audit and Finance

Committee was investigating “pull-in” sales practices, which occur when a customer is

“encourage[d]” by a Company sales representative to place an order earlier than it needs to so

that the Company can record the sale in an early financial quarter. “Pulling in” generally refers

to sales and marketing practices aimed at inducing consumers to buy product beyond their actual

current needs. This practice can be achieved through a variety of different means—some

legitimate, and others unethical or illegal.

       60.     The Company’s investigation concluded that certain employees achieved these

pull-in sales through “inappropriate business conduct” that violated the Company’s policies and

procedures. This means that the manner in which Alexion employees encouraged patients to

purchase Soliris involved the use of improper tactics, contrary to the Company’s statements

throughout the Class Period.

       61.     As the press release explained:

               The Audit and Finance Committee investigation focused primarily
               on “pull-in” sales of Soliris, which are certain Soliris sales
               transactions, coordinated by Company personnel (primarily


                                                 - 17 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 22 of 115




               personnel in the customer operations department in their capacity
               as coordinators for the shipment of orders for customers), that
               increase revenue recognized in an earlier fiscal quarter than the one
               in which a sale otherwise would have occurred. Pull-in sales may
               occur, for example, when a customer, as a result of
               encouragement by an employee, places an order for a patient
               earlier than the customer might otherwise place the order.

               The Audit and Finance Committee investigation did not identify
               any instances of improper revenue recognition associated with
               pull-in sales, instances where Soliris orders were not placed by
               customers for patients in order to fulfill an actual need, or instances
               where Soliris was sold to build stock of unwanted product.
               However, the investigation found that certain revenue pulled in
               from the first quarter of 2016 into the fourth quarter of 2015 was
               realized by employee actions that involved inappropriate business
               conduct, including violations of Company policies and
               procedures.

       62.     The press release also revealed that, to address these issues, the Company would

undertake a series of remedial actions, including “expanded training programs and implementing

new processes related to financial reporting, controls and compliance.”

       63.     Analysts expressed frustration with Alexion’s lack of transparency. On January

5, 2017, RBC Capital Markets published a report that stated:

               We believe that the company has missed out on a great
               opportunity to come out on top of a bad situation by being a lot
               more open and much more transparent with investors and having
               the chance to regain much needed trust. The very carefully
               worded press release left us (as believers in the company and the
               value of the Soliris franchise) perplexed and in the end
               disappointed in the management team and the Board: if there
               was wrongdoing (including material weakness in internal
               controls over financial reporting), as it appears it has, why not
               discuss it a lot more openly and talk about the parties
               responsible? Right now investors are supposed to accept today’s
               facts (of corporate inappropriate behavior), along with the fact that
               the company’s two most senior leaders left a few weeks ago to
               pursue other opportunities etc. . . . We have a very difficult time
               recalling when a major biotech had its CEO and CFO gone on the
               same day (other than a major restructuring). Why not be more
               open with investors and discuss exactly what happened, with
               specific numbers, quarters etc., especially if the impact on sales is


                                               - 18 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 23 of 115




               only <1%? Hold a conference call and take questions (unlike last
               time). Why not? The investigation is now concluded, correct?
               This should put investors’ minds at ease and allow them to focus
               on what the value of Soliris and the two metabolic products is
               going forward.

       64.     On January 19, 2017, Alexion filed an Amended Form 10-K for the fiscal year

ended December 31, 2015 (which had initially been filed on February 8, 2016) to reflect that the

Company’s disclosure controls and procedures were not effective as of December 31, 2015, and

that a material weakness existed at the time that 10-K was filed.

       65.     On February 16, 2017, Alexion filed its Form 10-K for the fiscal year ended

December 31, 2016 (the “2016 Form 10-K”), which provided additional details about the internal

investigation, describing the pull-in sales practices that were the subject of the investigation:

               As previously reported, the Audit and Finance Committee of the
               Company’s Board of Directors (Audit Committee) commenced an
               investigation of allegations made by a former employee concerning
               the Company’s Soliris sales practices. The former employee
               alleged that certain of such practices resulted in certain customers
               placing orders for shipments of Soliris in an earlier fiscal quarter
               than the fiscal quarter they otherwise would have (referred to here
               as pull-in or advanced sales, and more fully described below). The
               former employee alleged that such practices were used by the
               Company in order to meet certain financial targets and at times
               involved inappropriate business conduct.

                                                 ***

               For purposes of this Annual Report on Form 10-K, “pull-in” or
               “advanced” sales are certain Soliris sales transactions, coordinated
               by Company personnel (primarily personnel in the customer
               operations department in their capacity as coordinators for the
               shipment of orders for customers) that increase revenue recognized
               in an earlier fiscal quarter than the one in which a sale otherwise
               would have occurred and result in a corresponding decrease in the
               revenue that will be recognized in the subsequent fiscal quarter.
               The Company is able to forecast the estimated date of certain
               shipments of Soliris due to customer order history, known infusion
               dates, or other similar data to support the operations of our
               business and patient needs. Pull-in sales may occur, for example,
               when a customer, as a result of encouragement by a Company


                                                - 19 -
         Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 24 of 115




                 employee, places an order for a patient earlier than the customer
                 might otherwise place the order.

                                                 ***

                 The Audit Committee Investigation concluded that revenue from
                 the pull-in sales under review was appropriately recognized in the
                 quarter in which such sales actually occurred and that there were
                 no financial statement errors related to the pull-in sales. However,
                 the Audit Committee Investigation found that certain revenue
                 pulled into the fourth quarter of 2015 from the first quarter of
                 2016 was realized as the result of employee actions that involved
                 inappropriate business conduct, including conduct that was
                 inconsistent with, and in violation of Company policies and
                 procedures . . . .

          66.    According to the Company, there was no need to restate Alexion’s financial

results for the 2015 fiscal year because the “estimated pull-in sales represented less than 1% of

total revenue for 2015.” As the Company explained in the 2016 Form 10-K:

                 Pull-in sales during the fourth quarter of 2015 were estimated to be
                 between approximately $10 to $175 and were significantly higher
                 than for other quarters. Some portion of these estimated sales did
                 not involve inappropriate business conduct. These estimated pull-
                 in sales represented less than 1% of total revenue for 2015.

                 During the past two completed fiscal years and through the fourth
                 quarter of 2016, but excluding the fourth quarter of 2015, pull-in
                 sales were estimated to be between $1 to $7 in the aggregate,
                 representing 0% - 1% of total revenue.

          67.    Regardless of the amount of the improper sales as a proportion of the Company’s

total revenues, the improper pull-in sales were material to investors for at least two reasons.

First, the $10 million to $17 million in revenue that was achieved through inappropriate pull-in

sales was highly material because it enabled the Company to meet its full-year 2015 financial

guidance.




5
    In the 2016 Form 10-K, dollar figures are in millions.


                                                - 20 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 25 of 115




       68.     Indeed, on October 29, 2015, when Alexion issued a press release in which it

announced its third-quarter 2015 results, the Company explained that it expected “2015 total

revenues to be at the lower end of [its] previously guided range of $2.6 billion to $2.62 billion.”

       69.     On February 3, 2016, Alexion issued a press release in which it announced its

fourth-quarter and full-year 2015 financial results, reporting revenues for the full-year of 2015 of

$2.604 billion—i.e., just $4 million above the low end of is $2.6 billion to $2.62 billion guidance

range. This means that the Company was able to just barely meet its own financial guidance for

fiscal year 2015 because of the $10 million to $17 million in revenue it achieved through

inappropriate pull-in sales during the fourth quarter of 2015.

       70.     Second, even if the sales were properly recognized as an accounting matter, the

fact that they were driven by illegal practices would have been highly material to investors who

understood the company to be acting in compliance with relevant policies and ethical rules in

this highly regulated industry.

       71.     The 2016 Form 10-K also reiterated that the investigation found that senior

management failed to set an appropriate “tone at the top” for internal controls and senior

management failed to reinforce the need for compliance with the Company’s policies and

procedures, which contributed to the inappropriate pull-in sales practices that were the subject of

the investigation.

       F.      Alexion Again Acknowledges That Senior
               Management Set an Inappropriate “Tone at the Top”

       72.     On March 6, 2017, Interim CEO Brennan attended the Cowen Healthcare

Conference with analysts and investors. During the conference, held before the close of trading,

Brennan admitted that “[a]s a Board, we were disappointed” with Alexion’s “tone at the top,”




                                               - 21 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 26 of 115




which had created “pressure to do some things that were not in accordance with our policies and

procedures.” Specifically, Mr. Brennan stated:

               I think on the disappointing side, I mean, the biggest issue has been
               the management transition, the very quick – the abrupt change in
               December, and I would say that I think we were disappointed with
               the idea that tone at the top was a material weakness for the
               Company. As a Board, we were disappointed. And I think
               stepping—when the Board (technical difficulty) recognizing that
               that was going to be an issue, then trying to deal directly with the
               issue of tone at the top with the people in the organization to help
               them understand in areas where we might have had some pressure
               to do some things that were not in accordance with our policies
               and procedures that we weren’t going to do that going forward,
               and we wanted to create a more open, honest environment and a
               culture around that, and that’s probably the biggest
               disappointment I think I’ve had as a Board member. Certainly,
               I’ve stepped in and doing everything I can to kind of stabilize
               things as we look for a new CEO, but I think we were disappointed
               and I think the organization has responded well to the messages
               that I’ve tried to bring to it.

        73.    Following these admissions, the price of Alexion stock fell from closing at

$133.33 on March 6, 2017, to closing at $129.18 on March 7, 2017—a decline of approximately

3.1%.

        G.     Brazilian Authorities Raid Alexion’s Offices in São Paulo

        74.    Additional details about Alexion’s improper sales tactics came to light before the

close of trading on May 8, 2017, when reports emerged that the Company’s São Paulo, Brazil

offices were raided by Brazilian authorities as part of “Operation Serpent’s Chalice”—a multi-

year coordinated federal investigation into healthcare fraud in the pharmaceutical industry.

        75.    Specifically, as reported by the Brazilian news magazine Exame, the Brazilian

Federal Police and Federal Attorney General’s Office have been investigating a criminal scheme

involving the filing of fraudulent lawsuits for the purpose of transferring large amounts of public

funds from Brazil’s national health system to Alexion for Soliris. Because the drug is not yet



                                               - 22 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 27 of 115




approved for sale in Brazil, the only way citizens can get access to the drug is to file a lawsuit for

a judgment awarding publicly funded access to Soliris through the constitutionally protected

right to medical care, guaranteed to all Brazilian citizens. As reported by Bloomberg, Brazil’s

health ministry has paid more than 1.29 billion reais (or approximately $400 million) since 2010

to grant its citizens access to Soliris through these lawsuits.

       76.     According to a review of public filings and local news reports, in early 2016,

Brazilian authorities began investigating Alexion and the Company’s relationship with a patient

advocacy group called the Associacao dos Familiares, Amigos e Portadores de Doenças Graves

(or “AFAG”), whose offices were also raided on May 8, 2017 as part of the investigation. The

investigation has focused on the allegedly fraudulent filing of lawsuits aimed at obtaining

government reimbursement for sales of Soliris in circumstances involving inconclusive and fake

diagnoses of PNH and aHUS. More than 900 lawsuits for access to Soliris have been filed in

Brazil over the past six years by AFAG and other patient advocacy organizations.

       77.     According to Exame, the Brazilian authorities’ investigation began when a patient

reported being induced by AFAG to file a lawsuit for access to Soliris in order to treat aHUS―a

disease she did not have. In the federal warrant application to search and seize documents from

Alexion’s São Paulo office, the Brazilian Federal Police alleged that a representative of Alexion

facilitated contact between the misdiagnosed patient and the AFAG. The patient reported being

misdiagnosed by two doctors and giving power of attorney to AFAG―which Brazilian

authorities alleged did not charge legal fees―to file an action on her behalf.

       78.     The Brazilian Federal Attorney General’s Office is aware of at least ten similar

lawsuits filed by AFAG involving Soliris, according to a May 8, 2017 article in the Brazilian

news magazine Exame. These lawsuits were supported by diagnoses from the same group of




                                                - 23 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 28 of 115




physicians and were filed by the same group of attorneys, according to the Brazilian newspaper

O Globo. The medical reports were also suspiciously similar. After these suspicious details

emerged, a Brazilian judge ordered independent medical reevaluations for patients who filed

lawsuits involving aHUS diagnoses. According to Brazilian authorities, several actions

involving diagnoses by the same doctors were abruptly withdrawn shortly after the judge’s order.

       79.     According to Exame, Brazilian authorities are also investigating Alexion’s

financial contributions to the AFAG. Alexion disclosed to investors that it gave more than

$500,000 to the AFAG in 2015. The average payment in 2015 was approximately $26,000 per

entity. Indeed, AFAG received more in 2015 than any of the 115 other foreign Patient Advocacy

Organizations in 18 countries that received financial support from Alexion that year.

       80.     On news that Alexion’s offices in Brazil were raided, Alexion’s stock price fell

from an opening price on May 8, 2017 of $129.12 per share, to close that same day at $124.70

per share, or 3.4%.

       H.      Alexion Announces Additional Resignations by Senior Management

       81.     Just over two weeks after the Company’s Brazilian offices were raided, Alexion

announced a significant shakeup of its executive leadership team, including the departure of the

Company’s second CFO in just six months.

       82.     Indeed, on May 23, 2017, before the market opened, Alexion issued a press

release in which it announced that Defendant Anderson would resign as CFO at the end of

August, after having been named CFO just months earlier, on December 12, 2016. Notably,

Defendant Anderson had not been named as an interim CFO on December 12, 2016, but was

appointed to a permanent position, which made his departure, announced just five months later,

that much more surprising to the market.




                                              - 24 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 29 of 115




       83.     Alexion also announced in the May 23, 2017 press release that its Chief

Commercial Officer, Defendant Carsten Thiel, was leaving, effective June 1, 2017, to be

replaced by Brian Goff, and that two executive vice presidents (Martin Mackay, Head of

Research & Development and Clare Carmichael, Chief Human Resources Officer) were also

leaving the Company.

       84.     On news of Alexion’s management shakeup, including the departure of yet

another CFO, Alexion’s stock price dropped from a closing price of $115.42 per share on May

22, 2017 to close at $104.64 per share on May 23, 2017, or 9.3%, on heavy trading volume.

       85.     The management departures announced on May 23, 2017 were not the only

changes to Alexion’s leadership that the Company made in 2017. Just months earlier, on March

2, 2017, Alexion announced that Defendant Bell, the Company’s founder and the Chairman of its

Board, would leave the Company. In addition, Alexion also announced in March 2017 that its

Chief Compliance Officer, Edward Miller, was leaving the Company.

       86.     This means that between December 2016 and May 2017, Alexion announced the

departure of (i) its CEO, (ii) two different CFOs, (iii) its founder and Chairman of the Board,

(iv) its Chief Compliance Officer, (v) its Chief Commercial Officer, and (vi) two executive vice

presidents.

       87.     Analysts were surprised and disturbed by this new announcement of high-level

resignations. For example, on May 23, 2017, Jefferies issued a report stating that “the scale of

changes in such a short period seems highly unusual (CEO, 2x for CFO, COO, head of R&D,

Chief HR since 12/16).” The same day, analysts at UBS issued a report explaining that they

were “surprised” at the “timing” of the “sweeping changes.” Also the same day, J.P. Morgan




                                               - 25 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 30 of 115




downgraded Alexion stock, stating that “with ongoing management changes and recent events

(including a raid of a Brazilian facility), we cannot keep our Overweight rating . . . .”

       88.     News reports tied this significant management shakeup to Alexion’s aggressive

sales tactics, as alleged herein. Indeed, a Bloomberg article published on June 15, 2017 stated as

follows: “The aggressive tactics Alexion has used to sell [Soliris]—documented extensively in a

report from Bloomberg Businessweek [see Section IV.I., infra]—cost the company its previous

leadership and leave it with legal risk.”6

       I.      Additional Details About Alexion’s
               Unethical and Illegal Sales Tactics Come to Light

       89.     On May 24, 2017, the day after Alexion’s management shakeup, Bloomberg

released an in-depth exposé detailing Alexion’s illicit and aggressive sales practices.7 The article

provided specifics about the wide range of tactics Alexion used to “pull in” sales of Soliris—that

is, to encourage patients to purchase Soliris at times when they did not need it.

       90.     Following the release of the article (which occurred before the market opened on

May 24, 2017), Alexion’s stock price fell from an opening price on May 24, 2017 of $104.50 per

share, to close that same day at $101.08 per share, or a decline of 3.27%. Over the next two

days, as the market continued to absorb this information, Alexion’s stock price slid further. On

May 25, 2017, Alexion’s stock price fell from an opening price of $104.36 to close at $98.50, a

decline of approximately 5.62%, and then closed on May 26, 2017 at a price of $97.70—a

decline of over 6.5% from the May 24, 2017 opening price.




6
 Max Nisen, Alexion Has A Savior Complex, BLOOMBERG (June 15, 2017).
7
 Benjamin Elgin, Doni Bloomfield & Caroline Chen, When the Patient is a Gold Mine: The
Trouble With Rare-Disease Drugs, BLOOMBERG (May 24, 2017).


                                                - 26 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 31 of 115




        91.       Relying on interviews with more than 20 current and former employees and a

review over more than 2,000 pages of internal documents, the Bloomberg article provides details

about a number of Alexion’s improper and unethical sales tactics, including:

                  (a)    relying on a team of in-house nurses, who worked with the Company’s

sales team, to pressure patients and doctors to use Soliris, even if not in the patients’ interest;

                  (b)    encouraging doctors to send patients’ test results to “partner labs,” which,

in turn, would inappropriately share with Alexion the results of these tests so that Alexion could

identify patients diagnosed with PNH and aHUS (i.e., potential customers); and

                  (c)    making grants to patient advocacy groups so that Alexion could have

greater access to patient populations, and the Company’s related use of certain of these groups to

obtain illegal reimbursement for Soliris from foreign governments.

                  1.     Alexion Relied on Fear Tactics and
                         Company-Paid Nurses to Drive Sales of Soliris

        92.       Employees interviewed by Bloomberg explained that for new arrivals at the

Company, the sales culture was intense. Managers stressed that sales staff needed to question

doctors, many of whom had not seen patients with rare diseases, and to “transform no to yes,”

according to a sales manager who left the Company in 2016. If doctors did not think patients

were sick enough to warrant a drug that is as expensive as Soliris, sales staff were instructed to

warn the doctor that the doctor’s patient could die.

        93.       The Company closely tracked key details, such as the number of tests ordered by

each physician in their core markets. Sales staff also maintained detailed spreadsheets that

included a wide range of information about potential patients, including dates of birth,

information about symptoms, doctor, and hospital, and patients in some cases were identified by

their initials.



                                                 - 27 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 32 of 115




       94.     The sales staff also worked alongside a team of Company nurses that assisted in

the administration of treatments to Soliris patients. As licensed practitioners, these in-house

nurses are supposed to prioritize their patients’ interests over their employers’ profits, which is

why most drug companies, to avoid conflicts, maintain a firewall between their nurses and

salespeople. At Alexion, however, nurses reported directly to sales, and nurses often faced

pressure to secure and keep customers.

       95.     Several former employees told Bloomberg that, during weekly Friday sales

meetings, managers gathered their sales staff and nurses to talk about their customers. If a

patient had stopped taking Soliris, managers would question the nurse assigned to the patient and

ask, (i) what steps were taken to keep the patient on the drug, (ii) whether the nurse told the

patient that the patient could develop potential fatal blood clots if Soliris was no longer taken,

and (iii) whether the nurse steered the patient to another doctor who would resume the treatment.

As one former longtime Company nurse explained, “It was your feet to the fire, sweat pouring

down your back.”

       96.     The Bloomberg article details the story of one patient, named Stacey, who was

diagnosed with PNH in 2004. When she tried Soliris once it became available, her blood results

showed little improvement as a result of the treatment. When she told her Alexion nurse that she

and her doctor were going to stop treatment, the Alexion nurse started calling Stacey, urging her

to continue the treatment. Stacey explained: “I felt like they were scaring me, saying ‘Oh my

gosh, you really shouldn’t stop. You could get a clot and die.’”

               2.      Alexion Improperly Used
                       “Partner Labs” to Identify Potential Customers

       97.     The Bloomberg article also details the steps Alexion took to locate patients

suffering from these extremely rare diseases and to steer doctors to prescribe them Soliris.



                                                - 28 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 33 of 115




Alexion worked to persuade doctors to test more frequently for PNH and aHUS, and took

unethical and potentially illegal steps to view the results of these tests, which traditionally are

shared only amongst the doctor, the patient, and the lab that performs the test. To this end,

according to former employees and internal documents, sales representatives were instructed to

urge doctors to send the tests to preferred “partner labs,” which for Alexion included regional

labs, such as Dahl-Chase in Maine and Machaon Diagnostics Inc. in Oakland, California, as well

as national labs such as Laboratory Corp. of America Holdings (known as LabCorp), Quest

Diagnostics Inc., and Mayo Medical Laboratories, a division of the Mayo Clinic.

       98.     Unbeknownst to patients and many of the doctors, several of these preferred labs

had agreements with Alexion to provide the Company with copies of the patients’ test results.

Although patient names were often removed from the test results shared with Alexion, the lab

provided a number of other identifying and personal details, such as the patient’s age, gender,

ZIP code, the hospital and doctor ordering the test, and a summary of the results. With this

information, sales representatives were able to easily locate patients (i.e., potential customers)

who would have otherwise been extremely difficult to find. When a result for PNH or aHUS

was reported by a lab to Alexion, the diagnostic team at the Company passed the information to

the sales team, which descended on the doctor listed in the lab result. As a former account

representative of the Company explained, “[i]t was like Normandy.”

       99.     Improper sharing of identifiable patient health information, as it seems to have

occurred here, can constitute a serious violation of the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”). Indeed, in May 2017, after investigative reporters

began poking around and asking Alexion questions about these data gathering practices and so-

called “partner lab” relationships, the Company halted these practices and explained that it was




                                                - 29 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 34 of 115




reviewing its relationships with labs, further calling into question the legality of these previously

undisclosed agreements.

               3.      Alexion Funded Patient Advocacy Groups
                       and Engaged in Related Unethical Business Practices in Brazil

       100.    The Bloomberg article also provided additional details about Alexion’s

relationship with patient advocacy groups, which Alexion regularly funds around the world.

Indeed, the Company disclosed on its website that in 2015 it funded more than 75 of these

groups. These organizations host meetings each year to bring together patients diagnosed with

PNH or aHUS and their families, and Alexion’s grants pay for travel, lodging, and meals.

Alexion used these meetings as a way to gain access to patients (and potential customers): the

Company would send its in-house nurses to these meetings, who were instructed to gather sign-

in sheets with names and contact information of patients, apparently without the knowledge or

permission of the groups themselves.

       101.    As noted above, Alexion has a particularly close relationship with the patient

advocacy group AFAG in Brazil—a relationship that is the subject of an investigation by

Brazilian authorities and that sparked the raid of Alexion’s offices in Brazil on May 8, 2017.

       102.    For drug makers to be reimbursed for drugs sold in Brazil, companies are

supposed to negotiate with the government on price. Five former managers and executives of the

Company explained that Alexion avoided this step, and delayed registering Soliris in Brazil for

years. The Brazil constitution guarantees healthcare for each citizen, and citizens can sue the

government to get access to drugs that have not yet been approved for sale by regulators. If the

citizen’s lawsuit is successful, the government must pay for the drug without the usual price

negotiations, meaning Alexion receives the full price of Soliris in the event of a successful

lawsuit.



                                                - 30 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 35 of 115




       103.    Because most patients in Brazil cannot afford to pursue such a lawsuit, which is

known as “judicilization,” Alexion began funding patient groups. One such patient group’s

primary lawyers, who worked on these lawsuits on behalf of patients, initially came from a law

firm owned by the sister of Alexion’s local manager, according to a December 2014 confidential

analysis prepared by an outside law firm that Alexion commissioned to review its business

practices in Brazil.

       104.    In 2012, Alexion began funding the AFAG. Although the AFAG works with

other drug companies, much of its funding comes from Alexion: In 2014 and 2015, Alexion

contributed 1.672 million Brazilian reais (approximately $500,000) to the AFAG, which

represented roughly 30% of the group’s budget. In 2016, the donation increased to 2.675 million

reais (approximately $817,000).

       105.    Because of these significant contributions, Alexion was granted special access,

and each week, an Alexion manager would go through patient files at the AFAG office,

according to internal documents reviewed by Bloomberg. The Alexion manager told AFAG

which cases to pursue and brought all relevant patient information back to Alexion, according to

a former manager. Three former managers of the Company explained that few doctors, patients,

or government officials understood the extent of Alexion’s influence within AFAG.

       106.    Alexion’s outside law firm, hired to review the Company’s business practices in

Brazil, concluded in its December 2014 confidential report that these operations were

“unethical.” These unethical business practices have been lucrative for the Company. By the

end of 2016, Alexion projected that 600 Brazilians would be on Soliris, which would produce

revenue of more than $200 million, according to internal documents reviewed by Bloomberg.




                                              - 31 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 36 of 115




Strikingly, while Soliris treats just 0.0003% of Brazil’s population, the drug accounted for 30%

of the country’s judicilization budget in 2013 and 2014.

       107.    Alexion is still under investigation in Brazil for its relationship with AFAG. As

described above, Brazil’s national police are alleging that some of the lawsuits funded by

Alexion through its donations to AFAG were fraudulent and used inaccurate diagnoses to

generate patients, according to a request for a search warrant reviewed by Bloomberg. In one

case, armed guards regularly delivered far more Soliris than was needed to a woman who was

incorrectly diagnosed with aHUS. After years of excessive shipments, the patient had stockpiled

about 2.2 million reais of the drug in her refrigerator, and she ultimately reported the situation to

Brazilian authorities, which issued a search warrant for Alexion’s offices.

       108.    Alexion’s grants to patient advocacy groups overseas have also caught the

attention of U.S. regulators. In May 2015, Alexion received a subpoena in connection with an

investigation by the SEC into potential violations of the Foreign Corrupt Practices Act, involving

grants Alexion has made in Brazil, Colombia, Japan, Russia, and Turkey. The investigation is

ongoing.

       109.    On July 6, 2017, Bloomberg reported that Alexion is under investigation by the

U.S. Department of Health and Human Services’ Office of Inspector General, related to the

Company’s support for charities that aid Medicare patients. The U.S. Attorney’s Office for the

District of Massachusetts is conducting a similar investigation of the Company for the same

alleged misconduct, and Alexion announced on January 4, 2017 that it had received a subpoena

in December 2016 in connection with that investigation. These ongoing regulatory

investigations suggest that additional details about Alexion’s improper conduct are likely to

emerge after the filing of this Consolidated Complaint.




                                                - 32 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 37 of 115




V.     DEFENDANTS’ MATERIALLY FALSE AND
       MISLEADING STATEMENTS AND OMISSIONS

       110.    Throughout the Class Period, Defendants made three broad categories of

materially false and misleading statements and omissions.

       111.    First, Defendants made a series of misrepresentations concerning sales of Soliris,

both in the United States and abroad, in which they misled investors concerning actual and

projected Soliris sales and the Company’s strategy for marketing its lifeblood drug, while

intentionally omitting crucial details about the illegal and unethical practices that were artificially

propping up those sales. See infra, Section V.A.

       112.    Second, during the same time period and further compounding the false

impression made by the misrepresentations and omissions about Soliris sales, Defendants also

repeatedly touted to investors their commitment to, inter alia, “complying with all applicable

laws, regulations and adhering to the highest ethical standards in every country in which

[Alexion] operate[s],” even though Defendants were fully aware when those statements were

made of the Company’s numerous gross violations of applicable laws and ethical standards set

by the pharmaceutical industry. See infra, Section V.B.

       113.    Third, Defendants signed certifications pursuant to Section 302 of the Sarbanes-

Oxley Act of 2002 (“SOX”) therein (the “SOX Certifications”) in connection with each quarterly

and annual report, certifying that, among other things, they had designed and evaluated effective

internal controls over financial reporting, despite that there was a material weakness in the

Company’s internal controls. See infra, Section V.C.

       114.    Together, these false and misleading statements and omissions materially misled

investors about the sustainability of Alexion’s marketing strategy and sales practices for Soliris,

which directly impacted the market’s assessment of the Company’s investment risk and growth



                                                - 33 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 38 of 115




potential, as shown by, inter alia, market analysts’ reactions to both the misstatements/omissions

themselves, and the subsequent events and admissions that revealed the truth.

       A.      Alexion Touted the Company’s Financial
               Results, Provided Earnings Guidance, and Discussed Sales of Soliris
               in Brazil Without Disclosing the Company’s Reliance on Illegal Sales Tactics

       115.    Throughout the Class Period, Defendants made three types of misstatements

regarding sales of Soliris, all of which were materially false and/or misleading.

               (a)     First, Defendants reported strong and growing sales of Soliris, and

attributed those results to entirely legitimate business practices and operational factors, such as

Alexion’s ability to identify new patients through disease education and diagnostic initiatives.

These statements materially misled investors because Defendants failed to disclose that the key

drivers of those results were instead directly attributable to the Company’s use of unsustainable,

illegal, and improper sales and marketing tactics, which Defendants had an obligation to

disclose.

               (b)     Second, Defendants issued full-year guidance to investors, which included

projected sales of Soliris, and the Company provided updates each quarter as to whether the

Company was on track to meet such projections. This guidance, which Defendants attributed to

steady patient and volume growth in Alexion’s core Soliris business, was materially misleading

because Defendants failed to disclose that these projections rested on the assumption that

Alexion would continue to use unsustainable, illegal, and improper sales tactics to achieve

growth, which Defendants had an obligation to disclose.

               (c)     Third, Defendants made statements about the Company’s Brazilian

operations, but failed to disclose that that the Company relied on the unsustainable use of illegal

and improper sales tactics in Brazil—some, if not all, of which were determined to be

“unethical” in a confidential report prepared by Alexion’s outside law firm.


                                                - 34 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 39 of 115




       116.    The sales practices that Alexion relied on to sell Soliris—none of which were

disclosed to investors—were driven by senior management’s inappropriate “tone at the top,”

including reliance on pull-in sales in a manner that violated the Company’s policies and

procedures, as well as on other illegal tactics, as described above.

               1.      January 30, 2014 Press Release and Earnings Conference Call

       117.    On January 30, 2014, Alexion issued a press release in which it announced its

fourth-quarter and full-year 2013 financial results, disclosing that net product sales of Soliris

were $441.9 million for the quarter and $1.551 billion for the full year (the “January 30, 2014

Press Release”). The sales figure for the fourth-quarter 2013 beat analysts’ consensus estimates

of $431 million.

       118.    On February 10, 2014, Alexion filed its Form 10-K for the full-year ended

December 31, 2013, which incorporated these sales figures.

       119.    On an earnings conference call discussing the fourth-quarter and full-year 2013

financial results (the “January 30, 2014 Earnings Call”), Defendant Bell attributed those results

to legitimate business factors and conditions that allowed Alexion “to serve more patients” in

“major countries including . . . Brazil”:

               Our fourth quarter performance underscored our strategic growth
               initiatives. First, our commercial team provided Soliris to an
               increasing number of patients with PNH and aHUS worldwide, and
               broadened the base on which we will serve more patients in 2014
               and beyond.

                                                 ***

               Looking first at our PNH operations during Q4, we again
               continued to demonstrate strong Soliris growth in our core
               territories with increasing contribution from the next group of
               major countries including Turkey, Russia and Brazil. In 2014,
               we will go deeper in each of these countries while also increasing
               our presence to serve more patients across our nearly 50-country
               platform. We are driven in these efforts by the knowledge that


                                                - 35 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 40 of 115




               globally, the majority of patients with PNH have yet to receive an
               accurate diagnosis, let alone begin appropriate therapy.

               Turning to our aHUS launch, in Q4, we again observed a steady
               addition of new patients in the United States, made continued
               progress in key European countries, and initiated aHUS
               commercial operations in Japan following our marketing
               approval late last year. The ongoing strength of the global aHUS
               launch in the United States and other countries reinforces our
               confidence that our opportunity to serve patients with aHUS is at
               least as large as our opportunity to serve patients with PNH and
               perhaps larger.

        120.   On that same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions:

               The fourth quarter of 2013 was another period of sustained growth
               in revenues and profitability for Alexion, and provided a strong
               finish to the year. Revenue in Q4 increased 38% year-on-year to
               $441.9 million, representing a strong ongoing growth in
               established markets augmented by initial contributions from
               aHUS in Japan and Russia following approvals in these
               countries in late Q3, 2013.

               For the full-year 2013, we recorded sales of $1.55 billion, an
               increase of 37% compared to 2012. Looking at the geographic
               breakdown of sales in 2013, the U.S. contributed 36% of revenue,
               Europe 33%, Asia Pacific 13%, and Rest of the World 18%.

        121.   Also on the January 30, 2014 Earnings Call, Defendant Hallal attributed

Alexion’s “strong Soliris revenue” to the Company’s ability to “identify new patients,” including

in Brazil:

               During 2013 we achieved strong Soliris revenue growth of 37%,
               reflecting continued steady growth in PNH and our ongoing
               strong launch in aHUS in initial countries.

               Looking first at PNH, we continue to grow our PNH operations by
               achieving deeper penetration in the nearly 50 countries in which
               we serve patients, with key countries benefiting from field team
               expansions deployed for the aHUS launch. Importantly
               throughout 2013 we continued to identify new patients with PNH
               each quarter even in our longest established territories.



                                               - 36 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 41 of 115




               Looking specifically at Q4, strong rates of patient identification
               and rapid treatment initiation with Soliris continued as in prior
               quarters, as our disease awareness and diagnostic programs
               continue to support optimal patient care.

               We were pleased with our performance in our core territories of
               the U.S., Western Europe and Japan; saw a steady growth in
               Turkey, Brazil and Russia; and continued to serve new patients
               in Korea and Latin America.

               In 2014 we expect that our efforts will result in more patients being
               rapidly diagnosed and treated in both established and newer
               markets and continue to selectively broaden our footprint to
               address opportunities in Latin America, Europe and Asia Pacific.
               We are optimistic about our growth potential in PNH, as globally
               the majority of patients with PNH have yet to receive an accurate
               diagnosis, let alone commence appropriate therapy.

                                                ***

               We added a significant number of new patients in Western
               Europe during 2013 even though we did not have a full-year
               reimbursement in any individual country. During 2013, we made
               significant progress to establish reimbursement for aHUS, and in
               2014, we look forward to our first full year of serving patients with
               aHUS in several major European countries.

       122.    Defendants’ statements in the January 30, 2014 Press Release and on the January

30, 2014 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.

       123.    The January 30, 2014 Press Release also provided the Company’s full-year 2014

earnings guidance: “In 2014, worldwide net product sales are expected to be within a range of

$2.00 to $2.02 billion.”



                                               - 37 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 42 of 115




        124.    Defendant Sinha provided additional details about the guidance on the January 30,

2014 Earnings Call, stating:

                I would now like to turn to our 2014 guidance. First, we are again
                guiding strong top line year-on-year revenue growth. Revenues for
                2014 are forecasted in a range of $2 billion to $2.02 billion, an
                increase of approximately 30% year-on-year. 2014 guidance
                reflects our expectation for continued strong organic growth.

        125.    The statements regarding the Company’s guidance in the January 30, 2014 Press

Release and on the January 30, 2014 Earnings Call materially misled investors because

Defendants failed to disclose that these projections rested on the assumption that Alexion would

continue to use unsustainable, illegal, and improper sales tactics, caused by senior management’s

failure to set an appropriate tone at the top, as described above in Section IV.

                2.     April 24, 2014 Press Release and Earnings Call

        126.    On April 24, 2014, Alexion issued a press release in which it announced its first-

quarter 2014 financial results, disclosing that net product sales of Soliris were $566.6 million

(the “April 24, 2014 Press Release”). This sales figure beat analysts’ consensus estimate of

approximately $561 million.

        127.    On April 25, 2014, Alexion filed its Form 10-Q for the quarterly period ended

March 31, 2014, which incorporated these sales figures.

        128.    On an earnings conference call discussing the first-quarter 2014 financial results

(the “April 24, 2014 Earnings Call”), Defendant Hallal attributed the Soliris sales results to

legitimate business factors and conditions, such as Alexion’s “disease education and diagnostic

initiatives”:

                During Q1, we achieved strong Soliris in-quarter revenue growth
                of 41% over the year-ago quarter. This reflects continued steady
                growth in PNH and our ongoing launch in aHUS now further
                supported the recent reimbursement progress in Europe.



                                               - 38 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 43 of 115




               Looking first at PNH, in Q1, we were pleased with our steady
               performance in our core territories of the U.S., Western Europe
               and Japan, and we also observed consistent growth in serving
               new patients in Turkey, Brazil and Russia. In all territories,
               including those where we have operated the longest, we continue
               to observe the majority of patients with PNH newly starting on
               Soliris were also newly diagnosed. The consistent number of
               newly diagnosed patients and continuing uptake of Soliris in PNH
               reflects the ongoing positive impact of our disease awareness and
               diagnostic initiatives.

                                                ***

               Now, turning to aHUS, . . . [i]n the U.S., our aHUS disease
               education and diagnostic initiatives again resulted in a steady
               increase in the number of new patients commencing Soliris
               therapy. Our U.S. team continues to implement our plan with
               urgency to help more patients with this devastating disease.

       129.    Defendants’ statements in the April 24, 2014 Press Release and on the April 24,

2014 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.

       130.    On the April 24, 2014 Earnings Call, Defendant Bell was asked to discuss the

Company’s marketing of Soliris in Brazil and other developing countries. In response,

Defendant Bell described how those countries had established a “very helpful” mechanism to

“serve their citizens with funding” for Soliris, and touted the Company’s “disease awareness

activities” in those countries:

               Again, just to remind you, Turkey, Russia and Brazil, what is –
               what supports our efforts there with PNH is that the governments
               have established a mechanism to serve their citizens with
               funding, and so that is obviously very helpful. And the aggregate


                                               - 39 -
         Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 44 of 115




                   population of those three countries, when you look at the
                   reimbursable population, is larger than that of even the United
                   States. And so what we’ve observed in these three countries is
                   actually a very similar pattern to what we’ve seen in the U.S. and
                   Europe, and that is when we initially launched in these countries
                   our disease awareness activities, there was an initial group of
                   patients that would start treatment, and then through our
                   initiatives, though newly-diagnosed patients, newly identified
                   patients, we see a steady pattern of patients commencing therapy.
                   So, not dramatically different than what we’ve seen in the U.S.
                   and Western Europe.

         131.      Defendant Bell’s statements regarding Alexion’s sales of Soliris in Brazil were

misleading and omitted material information because Defendant Bell touted the Company’s

ability to obtain government funding and identify new patients, while failing to disclose that the

Company relied on the unsustainable use of illegal and improper sales tactics in Brazil, caused

by senior management’s failure to set an appropriate tone at the top, including working with

patient advocacy groups to file fraudulent lawsuits aimed at obtaining government

reimbursement for sales of Soliris in circumstances involving inconclusive and fake diagnoses of

PNH and aHUS, and delaying registration of Soliris in Brazil to avoid negotiating with the

government on price—practices that were key to the Company’s Brazil operations, which an

outside law firm, hired by Alexion, concluded were “unethical.”

         132.      The April 24, 2014 Press Release also reiterated part of the Company’s full-year

2014 earnings guidance: “Alexion is reiterating its 2014 revenue guidance of $2.15 to $2.17

billion . . . .”

         133.      The statement regarding the Company’s guidance in the April 24, 2014 Press

Release materially misled investors because Defendants failed to disclose that these projections

rested on the assumption that Alexion would continue to use unsustainable, illegal, and improper

sales tactics, caused by senior management’s failure to set an appropriate tone at the top, as

described above in Section IV.


                                                  - 40 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 45 of 115




               3.      July 24, 2014 Press Release and Earnings Conference Call

       134.    On July 24, 2014, Alexion issued a press release in which it announced its

second-quarter 2014 financial results, disclosing that net product sales of Soliris were $512.5

million (the “July 24, 2014 Press Release”). This sales figure beat analysts’ consensus estimate

of approximately $510 million.

       135.    On July 25, 2014, Alexion filed its Form 10-Q for the quarterly period ended June

30, 2014, which incorporated these sales figures.

       136.     On an earnings conference call discussing the second-quarter 2014 financial

results (the “July 24, 2014 Earnings Call”), Defendant Sinha attributed those results to legitimate

business factors and conditions:

               The second quarter was another period of profitable growth and
               continued operating leverage. In Q2, net sales increased to
               $512.5 million or 38% above the year-ago quarter, despite an
               unfavorable currency headwind of approximately $5 million year-
               on-year and $3 million sequentially. Our sales performance
               reflects strong volume growth across all our territory.

       137.    On that same call, Defendant Hallal also attributed the Soliris sales results to

legitimate business factors and conditions, resulting in “consistent growth in serving new

patients,” including in Brazil:

               During Q2, we achieved strong Soliris in-quarter revenue growth
               of 38% over the year-ago quarter. This reflects continued steady
               growth in PNH globally and the early progress of our ongoing
               aHUS launch.

               Looking first at PNH during Q2, we were pleased with our steady
               performance in our core territories of the U.S., Western Europe
               and Japan, and we also continue to observe consistent growth in
               serving new patients in Turkey, Brazil and Russia. In all
               territories, including those where we have operated the longest, we
               consistently observe that the majority of patients with PNH newly
               starting on Soliris were also newly diagnosed. The steady
               identification of newly diagnosed patients and the ongoing



                                               - 41 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 46 of 115




               uptake of Soliris in PNH reflect the ongoing positive impact of
               our disease awareness and diagnostic initiative.

       138.    Defendants’ statements in the July 24, 2014 Press Release and on the July 24,

2014 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.

       139.    In the July 24, 2014 Press Release, Alexion also provided an update on its full-

year 2014 earnings guidance: “Alexion today announced that the Company is revising upward its

revenue guidance for 2014 from the previous range of $2.15 to $2.17 billion, now to the higher

range of $2.18 to $2.20 billion.”

       140.    Defendant Sinha provided additional details about the Company’s guidance on the

July 24, 2014 Earnings Call, stating:

               Turning to guidance, we are pleased to be increasing our 2014
               forecast for both sales and EPS as announced this morning. Strong
               performance in both PNH and aHUS across our territories
               enables us to raise sales guidance from the previous range of
               $2.15 billion to $2.17 billion, now to the higher range of $2.18
               billion to $2.20 billion.

       141.    The statements regarding the Company’s guidance in the July 24, 2014 Press

Release and on the July 24, 2014 Earnings Call materially misled investors because Defendants

failed to disclose that these projections rested on the assumption that Alexion would continue to

use unsustainable, illegal, and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, as described above in Section IV.




                                               - 42 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 47 of 115




               4.      October 23, 2014 Press Release and Earnings Conference Call

       142.    On October 23, 2014, Alexion issued a press release in which it announced its

third-quarter 2014 financial results, disclosing that net product sales of Soliris were $555.1

million (the “October 23, 2014 Press Release”). This sales figure beat analysts’ consensus

estimate of $542 million.

       143.    On October 24, 2014, Alexion filed its Form 10-Q for the quarterly period ended

September 30, 2014, which incorporated these sales figures.

       144.    On an earnings conference call discussing the third-quarter 2014 financial results

(the “October 23, 2014 Earnings Call”), Defendant Sinha attributed those results to legitimate

business factors and conditions:

               In Q3, we achieved another quarter of profitable growth, strong
               cash flow and continued operating leverage. Net sales increased
               to $555 million in Q3 or 39% above the year-ago quarter,
               primarily reflecting strong unit volume growth. Strong revenues
               combined with ongoing financial discipline resulted in a 53%
               increase in non-GAAP EPS in Q3 compared to the year-ago
               quarter.

       145.    On that same call, Defendant Hallal also attributed the Soliris sales results to

legitimate business factors and conditions, resulting in “continued steady” and “consistent

growth,” including in Brazil:

               During Q3, we achieved strong Soliris in-quarter revenue growth
               of 39% over the year-ago quarter. This reflects continued steady
               growth in PNH globally and the strength of our ongoing aHUS
               launch.

               Looking first at PNH during Q3, newly-diagnosed patients
               continued to make up the majority of patients newly starting on
               Soliris across our territories. We are pleased with our steady
               performance in the U.S., Western Europe and Japan, and we are
               also observing consistent growth in serving new patients across
               Turkey, Brazil and Russia.

                                                ***


                                               - 43 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 48 of 115




                 Turning now to aHUS, we continued to add new patients in the
                 U.S., Europe and Japan.

        146.     Later on the call, in response to a question from an analyst, Defendant Hallal

stated as follows: “[W]e saw growth across all geographies, including Latin America, in Q3.”

        147.     Defendants’ statements in the October 23, 2014 Press Release and on the October

23, 2014 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.

        148.     In the October 23, 2014 Press Release, Alexion also provided an update on its

full-year 2014 earnings guidance: “Alexion today announced that the Company is revising

upward its revenue guidance for 2014 from the previous range of $2.18 to $2.20 billion, now to

the higher range of $2.220 to $2.225 billion.”

        149.     On the October 23, 2014 Earnings Call, Defendant Bell provided further details

about the Company’s guidance:

                 As we continue to achieve strong financial performance into the
                 final months of the year, we announced this morning that we are
                 raising our revenue guidance to the higher range of $2.220
                 billion to $2.225 billion, and we are also now raising our 2014
                 guidance for non-GAAP EPS to the higher range of $5.15 to $5.20,
                 reflecting ongoing financial discipline and the operational benefits
                 of our global structure.

        150.     Defendant Sinha also discussed the guidance on the October 23, 2014 Earnings

Call, stating:

                 Turning to guidance, we are pleased to be increasing our 2014
                 forecast for both sales and EPS as announced this morning.


                                                 - 44 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 49 of 115




                Strong performance in both our current businesses, PNH and
                aHUS, enables us to raise our 2014 sales guidance to the higher
                range of $2.220 billion to $2.225 billion. This upwardly revised
                revenue guidance takes into account the expected increase in FX
                headwind in Q4.

       151.     The statements regarding the Company’s guidance in the October 23, 2014 Press

Release and on the October 23, 2014 Earnings Call materially misled investors because

Defendants failed to disclose that these projections rested on the assumption that Alexion would

continue to use unsustainable, illegal, and improper sales tactics, caused by senior management’s

failure to set an appropriate tone at the top, as described above in Section IV.

                5.     January 29, 2015 Press Release and Earnings Conference Call

       152.     On January 29, 2015, Alexion issued a press release in which it announced its

fourth-quarter and full-year 2014 financial results, disclosing that net product sales were $599

million for the quarter and $2.234 billion for the full year (the “January 29, 2015 Press

Release”). The sales figure for the fourth-quarter 2014 beat analysts’ consensus estimates of

$591 million.

       153.     On February 6, 2015, Alexion filed its Form 10-K for the fiscal year ended

December 31, 2014, which incorporated these sales figures.

       154.     On an earnings conference call discussing the fourth-quarter and full-year 2014

financial results (the “January 29, 2015 Earnings Call”), Defendant Hallal attributed those results

to legitimate business factors and conditions, including Alexion’s ability “to identify a

consistently high number of newly diagnosed patients”:

                Now turning to our performance in Q4. We advanced our mission
                by reaching significant milestones across our commercial and
                pipeline initiatives. Looking first at PNH, our performance in
                2014 affirms our view that on a global basis, the majority of
                patients with PNH have yet to receive an accurate diagnosis let
                alone commence appropriate treatment. Throughout 2014, as in
                prior years, we continue to identify a consistently high number of


                                               - 45 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 50 of 115




               newly diagnosed patients with PNH in the U.S., Europe and
               Japan, the territories in which we have operated the longest. As
               we look at 2015, we have strong conviction in our PNH
               franchise, as we aim to serve many more patients around the
               world.

               Turning to aHUS, we continue to observe a steady addition of
               new patients commencing Soliris treatment in the U.S. and
               Europe I 2014, while we made important progress in the early
               stages of our launch in Japan.

       155.    On that same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions:

               In Q4 the steady increase in uptake of Soliris among PNH and
               aHUS patients in our core territories and newer markets resulted
               in strong revenue and EPS growth during the quarter and for the
               year. Revenue in Q4 increased 36% year-on-year to $599 million
               despite the early signs of weakness in key ex-U.S. currencies late
               in the quarter.

       156.    Defendants’ statements in the January 29, 2015 Press Release and on the January

29, 2015 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.

       157.    In the January 29, 2015 Press Release, Alexion provided its full-year 2015

earnings guidance: “In 2015, worldwide net product sales are expected to be within a range of

$2.55 to $2.6 billion, which includes an approximately negative 5 percent, or $135 million,

foreign exchange impact compared to 2014 exchange rates.”

       158.    On the January 29, 2015 Earnings Call, Defendant Hallal provided further details

about the Company’s guidance:


                                               - 46 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 51 of 115




                 Turning to our 2015 guidance, we announced this morning a
                 revenue forecast of $2.55 billion to $2.6 billion despite currency
                 headwinds. On a constant currency basis, we would expect an in-
                 year sales growth rate of approximately 26%. The robust growth
                 for Soliris reflects strong underlying demand with the anticipated
                 addition of a similar number of new patients on treatment year-
                 on-year.

        159.     Defendant Sinha also discussed the guidance on the January 29, 2015 Earnings

Call, stating:

                 I would now like to turn to our 2015 guidance. We are guiding
                 2015 total revenue in a range of $2.55 billion to $2.6 billion.

                                                ***

                 This forecast reflects our expectation of continued strong growth
                 at Soliris with expected addition of a similar number of new
                 patients on treatment in 2015 compared to 2014, as well as a
                 small initial asfotase alfa [i.e. Strensiq] contribution.

        160.     The statements regarding the Company’s guidance in the January 29, 2015 Press

Release and on the January 29, 2015 Earnings Call materially misled investors because

Defendants failed to disclose that these projections rested on the assumption that Alexion would

continue to use unsustainable, illegal, and improper sales tactics, caused by senior management’s

failure to set an appropriate tone at the top, as described above in Section IV.

                 6.     April 23, 2015 Press Release and Earnings Conference Call

        161.     On April 23, 2015, Alexion issued a press release in which it announced its first-

quarter 2015 financial results, disclosing that net product sales of Soliris were $600.3 million

(the “April 23, 2015 Press Release”). This sales figure beat analysts’ consensus estimate of $591

million.

        162.     On April 24, 2015, Alexion filed its Form 10-Q for the quarterly period ended

March 31, 2015, which incorporated these sales figures.




                                               - 47 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 52 of 115




       163.    On an earnings conference call discussing the first-quarter 2015 financial results

(the “April 23, 2015 Earnings Call”), Defendant Hallal attributed those results to legitimate

business factors and conditions, including the ability of Alexion’s “commercial organization” to

identify “newly diagnosed patients” through “diagnostic initiatives”:

               During the quarter, our commercial organization delivered,
               leveraging our world-class expertise in rare diseases to serve
               more patients with both PNH and aHUS. This resulted in a 25%
               increase in revenues and a 31% increase in volume year-on-year.

                                               ***

               Looking more closely at our PNH franchise, in Q1 as in all prior
               quarters since 2007, we identified a consistently high number of
               newly diagnosed patients with PNH in the U.S., Europe and
               Japan, the three territories in which we have operated the longest,
               as well as in other key markets such as Turkey and Brazil.

                                               ***

               The success of our PNH diagnostic initiatives drives our steady
               growth, as we continue to see that the majority of patients newly
               starting on Soliris are also newly diagnosed.

                                               ***

               Our performance in Q1 reflects the strength of our underlying
               business, as well as the buildout of our metabolic franchise, the
               advancement of our development opportunities and the
               broadening of our pipelines. Specifically, Soliris in PNH and
               aHUS continues to grow steadily across our 50-country
               operating platform.

                                               ***

               Looking briefly at our Q1 financial performance, we reported
               revenues of $600 million, reflecting 25% in-year growth over Q1
               2014 despite the continuing significant weakness in ex-U.S.
               currencies. This revenue growth was driven by an increase in
               volume of 31% compared to the year-ago quarter.

       164.    On that same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions:



                                               - 48 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 53 of 115




               Our Q1 2015 revenues of $600 million were above our forecast of
               $585 million to $590 million, reflecting 25% growth of in-year
               sales over Q1 2014. This 25% revenue growth was driven by a
               31% increase in volume, partially offset by a 6.6% currency
               headwind in Q1 over the year-ago quarter, net of hedging.

       165.    Defendants’ statements in the April 23, 2015 Press Release and on the April 23,

2015 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.

       166.    The April 23, 2015 Press Release also reiterated the Company’s full-year 2015

earnings guidance: “Alexion is reiterating all items of its 2015 guidance as provided in the press

release issued on January 29, 2015: Worldwide net product sales are expected to be within a

range of $2.55 to $2.6 billion.”

       167.    Defendant Hallal also reiterated the guidance on the April 23, 2015 Earnings Call:

               With the steady patient and volume growth in our core business
               combined with our effective hedging program, we are reiterating
               our 2015 financial guidance. This guidance includes total
               revenues of $2.55 billion to $2.6 billion.

       168.    The statements regarding the Company’s guidance in the April 23, 2015 Press

Release and on the April 23, 2015 Earnings Call materially misled investors because Defendants

failed to disclose that these projections rested on the assumption that Alexion would continue to

use unsustainable, illegal, and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, as described above in Section IV.




                                               - 49 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 54 of 115




               7.      July 30, 2015 Press Release and Earnings Conference Call

       169.    On July 30, 2015, Alexion issued a press release in which it announced its

second-quarter 2015 financial results, disclosing that net product sales of Soliris were $636

million (the “July 30, 2015 Press Release”). This sales figure beat analysts’ consensus estimate

of approximately $629 million.

       170.    On July 31, 2015, Alexion filed its Form 10-Q for the quarterly period ended June

30, 2015, which incorporated these sales figures.

       171.    On an earnings conference call discussing the second-quarter 2015 financial

results (the “July 30, 2015 Earnings Call”), Defendant Hallal touted that Alexion “fired on all

cylinders” and attributed the reported financial results to legitimate business factors and

conditions:

               In Q2, we fired on all cylinders. First, our commercial
               organization delivered steady growth in both PNH and aHUS
               reflecting the strength of our core Soliris business.

                                                ***

               In Q2, product revenues were $636 million, an increase of 24%
               over Q2 2014, despite the continued weakness in ex-U.S.
               currencies. This revenue growth was driven by an increase in
               volume of 31% compared to the year-ago quarter, reflecting the
               ongoing strength of our core PNH and aHUS businesses.

       172.    Defendants’ statements in the July 30, 2015 Press Release and on the July 30,

2015 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.


                                               - 50 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 55 of 115




       173.    In the July 30, 2015 Press Release, Alexion revised upward its full-year 2015

earnings guidance: “Alexion today announced that the Company is revising upward its revenue

guidance for 2015 from the previous range of $2.55 to $2.6 billion, now to the higher and

narrower range of $2.6 to $2.62 billion, which includes an approximately negative 6 percent, or

$160 million, foreign exchange impact compared to 2014 exchange rates.”

       174.    On the July 30, 2015 Earnings Call, Defendant Hallal similarly announced that

Alexion’s guidance was revised upward:

               We achieved non-GAAP EPS of $1.44 per diluted share as a result
               of strong performance in PNH and aHUS in the first half of 2015,
               and our expectations for continued strong Soliris volume growth,
               we are increasing our 2015 revenue guidance to the higher range of
               $2.6 billion to $2.62 billion, despite continued currency
               headwinds.

       175.    Defendant Sinha also confirmed the guidance revision:

               Based on our expectation for continued strong Soliris volume
               growth in PNH and aHUS, we are increasing our 2015 revenue
               guidance from the previous range of $2.55 billion to $2.6 billion
               now, to the higher range of $2.6 billion to $2.62 billion.

       176.    The statements regarding the Company’s guidance in the July 30, 2015 Press

Release and on the July 30, 2015 Earnings Call materially misled investors because Defendants

failed to disclose that these projections rested on the assumption that Alexion would continue to

use unsustainable, illegal, and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, as described above in Section IV.

               8.      October 29, 2015 Press Release and Earnings Conference Call

       177.    On October 29, 2015, Alexion issued a press release in which it announced its

third-quarter 2015 financial results, disclosing that net product sales of Soliris were $665.4

million (the “October 29, 2015 Press Release”). This sales figure was slightly below analysts’

consensus estimate of $666 million.


                                               - 51 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 56 of 115




       178.    On November 2, 2015, Alexion filed its Form 10-Q for the quarterly period ended

September 30, 2015, which incorporated these sales figures.

       179.    On an earnings conference call discussing the third-quarter 2015 financial results

(the “October 29, 2015 Earnings Call”), Defendant Hallal attributed those results to legitimate

business factors and conditions:

               In aHUS, in Q3 we once again reached a consistent number of new
               patients. The ongoing strength of our global rollout confirms our
               view that our opportunity to serve patients with aHUS is indeed
               larger than our opportunity to serve patients with PNH. We
               continue to see the majority of our opportunity to serve new
               patients with PNH and aHUS ahead of us.

                                                ***

               Turning to our financial performance, product revenues in Q3 was
               $666 million, an increase of 20% over Q3 2014, despite increased
               weakness in ex-U.S. currencies. This revenue growth was driven
               by a strong 29% increase in Soliris volume compared to the year-
               ago quarter, reflecting the ongoing strength of our core PNH
               and aHUS businesses, both in the third quarter and year-to-date.

       180.    On that same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions:

               Total revenues increased to $667 million in Q3, or 20% above the
               year-ago quarter, and net product sales were $666 million in this
               quarter. This revenue growth was driven by a strong 29% increase
               in volume, partially offset by a 9% or $49 million in currency
               headwinds in Q3 over the year-ago quarter. Q3 revenues were
               driven by continued strong growth of Soliris, and we also booked
               our initial sale for Strensiq in the final weeks of the third quarter.

       181.    Also on the call, Defendant Thiel, Alexion’s CCO, attributed the “strong . . .

growth in” Soliris sales during the third quarter of 2015 to “the ongoing success of our diagnostic

initiatives” and “our disease awareness programs”:

               Our global commercial operations delivered a strong 29% volume
               growth year-on-year, reflecting the underlying strength of our core
               Soliris business. Starting with PNH, the ongoing success of our


                                               - 52 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 57 of 115




               diagnostic initiatives drove steady growth. We are consistently
               identifying a high number of newly diagnosed patients with PNH
               in our core markets of the U.S., Europe and Japan, the territories
               where we have been operating the longest as well as in other key
               markets such as Turkey, Brazil and Russia. Our experience
               affirms our view that on a global basis, the majority of patients
               with PNH have yet to receive an accurate diagnosis, let alone
               commence appropriate treatment.

                                                ***

               To support the aHUS community, we continue to enhance our
               disease awareness programs . . . .

       182.    Defendants’ statements in the October 29, 2015 Press Release and on the October

29, 2015 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV. In

addition, Defendants’ statements regarding sale of Soliris in Brazil were misleading and omitted

material information because they failed to disclose that the Company relied on the unsustainable

use of illegal and improper sales tactics in Brazil, caused by senior management’s failure to set

an appropriate tone at the top, including working with patient advocacy groups to file fraudulent

lawsuits aimed at obtaining government reimbursement for sales of Soliris in circumstances

involving inconclusive and fake diagnoses of PNH and aHUS, and delaying registration of

Soliris in Brazil to avoid negotiating with the government on price—practices that were key to

the Company’s Brazil operations, which an outside law firm, hired by Alexion, concluded were

“unethical.”




                                               - 53 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 58 of 115




       183.    The October 29, 2015 Press Release also provided an update with respect to the

Company’s full-year 2015 earnings guidance, explaining that “Alexion expects 2015 total

revenues to be at the lower end of our previously guided range of $2.6 billion to $2.62 billion,

primarily due to macroeconomic factors in Latin American countries.”

       184.     On the October 29, 2015 Earnings Call, Defendant Hallal stated similarly with

respect to the Company’s full-year 2015 earnings guidance:

               Turning briefly to our 2015 guidance, this morning we guided
               2015 revenues to be in the lower end of our previously guided
               range of $2.6 billion to $2.62 billion. Due to macroeconomic
               factors in Latin American countries, we expect an impact of
               approximately $10 million to $15 million in the fourth quarter in
               countries where we sell in USD, which is due to local government
               budgetary constraints.

       185.    The statements regarding the Company’s guidance in the October 29, 2015 Press

Release and on the October 29, 2015 Earnings Call materially misled investors because

Defendants failed to disclose that these projections rested on the assumption that Alexion would

continue to use unsustainable, illegal, and improper sales tactics, caused by senior management’s

failure to set an appropriate tone at the top, as described above in Section IV.

               9.      December 10, 2015 “Investor Day” Conference

       186.    On December 10, 2015, Defendants Hallal, Sinha, Thiel, and other Alexion

executives hosted an “Investor Day” conference with analysts and investors. During the

presentation, Defendant Thiel described Alexion’s “unique commercial capabilities” including in

“disease education” and “diagnostic initiatives”:

               You have heard earlier from David [Hallal] why we do what we do
               to bring transformative benefits to patients with devastating
               diseases who are left alone, undiagnosed and untreated. I want to
               share with you how we do it and share with you some detailed
               insights into our unique commercial capabilities. And at the end of
               this session my objective is that you see us in a unique spot to



                                               - 54 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 59 of 115




              deliver on our pipeline, on our in-line portfolio and on our next-
              generation program.

              So first what we know well and do well is this. There wouldn't be
              the rare disease business without disease education. There
              wouldn't be a rare disease business without rapid and accurate
              diagnosis and without patient support.

              When we meet a physicians and talk about our diseases in most
              cases they know very, very little about it. In fact, we look at PNH
              and aHUS in most cases they have heard maybe once or twice in
              their medical education and medical school about those diseases.
              Full of misperceptions.

              And our job is to reset their knowledge about those diseases. Once
              physicians have recognized the devastating nature of the disease
              they want to know how to test and who to test. And this is why we
              have built critical capabilities in diagnostic initiatives, in testing
              to ensure that patients get rapid and accurate diagnosis. And
              patients are in need once they receive treatment to address their
              questions about what they want to know and in terms of funding
              and reimbursement.

                                               ***

              But I also want to go beyond on our 50 country platform the
              structure that we have built is that of a highly talented, unique
              workforce that works integrated in the countries. And what's
              special about them is that they are passionate about every single
              patient bringing benefits to them on a weekly basis with my five
              regional leaders looking at the feedback from advisory boards,
              from clinical centers, and new scientific evidence and discussing
              how we can drive those benefits to more patients and on a daily
              basis we look at patient identification in our programs to serve
              more patients.

       187.   Also during the “Investor Day” conference, Alexion published a slide

presentation touting the Company’s “expert capabilities” to raise “disease awareness” by

“partner[ing] with medical experts”; the Company’s “dedicated diagnostic capabilities” and “lab

partnerships”; and the Company’s “patient support” through “[i]ntegrated field teams” and

“[s]pecialized case management”:




                                              - 55 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 60 of 115




       188.    Defendants’ statements during the December 10, 2015 “Investor Day” conference

attributing Alexion’s sales of Soliris to the Company’s “critical capabilities in diagnostic

initiatives” and other legitimate business factors and conditions were misleading because

Defendants failed to disclose that the key drivers of those results were instead directly

attributable to Alexion’s unsustainable use of illegal and improper sales tactics, caused by senior

management’s failure to set an appropriate tone at the top, including reliance on pull-in sales in a

manner that violated the Company’s policies and procedures, as well as on other illegal tactics,

as described above in Section IV.

               10.     January 12, 2016 J.P. Morgan Health Care Conference

       189.    On January 12, 2016, Defendants Hallal and Sinha attended the J.P. Morgan

Health Care Conference with analysts and investors. During the conference, Defendant Sinha

stated that although Alexion had seen “some difficulties in getting [Brazil] to manage their




                                               - 56 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 61 of 115




budgets . . . we helped them out on that and it worked out well . . . . So, I think it’s not a big

issue anymore”:

               [Analyst]: Maybe a quick question for Vikasn [Sinha]. Thinking
               about – in the orphan disease space, there has been some
               challenges in Latin America. Maybe you can give us a sense of the
               geographic contribution of revenues from Latin America?

               [Sinha]: So, as David [Hallal] was mentioning, one third of our
               business is in U.S., one third in Europe and one third rest of the
               world. And within the rest of the world, approximately 10% of our
               business comes out of Latin America. Now, putting it into
               context, the Latin American issue, there has been some difficulty
               with the presidential impeachment proceedings started in Brazil
               and few other issues around oil prices and commodity prices
               going down there has put some pressure in their budgets. So,
               this 2015 second half, we saw some difficulties in getting them to
               manage their budgets and we helped them out on that and it
               worked out well.

               Going into 2016 when you put that into perspective, I think we
               have gotten to a good spot with our discussions with the
               government. And even if the risk hits us, it's not going to be more
               than 1% to 2% of our overall sales out of that 10% level. So, I
               think it’s not a big issue anymore.

       190.    Defendant Sinha’s statements regarding Alexion’s sales of Soliris in Latin

America and specifically Brazil were misleading and omitted material information because they

failed to disclose that the Company relied on the unsustainable use of illegal and improper sales

tactics in Brazil, caused by senior management’s failure to set an appropriate tone at the top,

including working with patient advocacy groups to file fraudulent lawsuits aimed at obtaining

government reimbursement for sales of Soliris in circumstances involving inconclusive and fake

diagnoses of PNH and aHUS, and delaying registration of Soliris in Brazil to avoid negotiating

with the government on price—practices that were key to the Company’s Brazil operations,

which an outside law firm, hired by Alexion, concluded were “unethical.”




                                                - 57 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 62 of 115




               11.     February 3, 2016 Press Release and Earnings Conference Call

       191.    On February 3, 2016, Alexion issued a press release in which it announced its

fourth-quarter and full-year 2015 financial results, disclosing that net product sales of Soliris

were $689 million for the quarter and $2.590 billion for the full year (the “February 3, 2016

Press Release”). The sales figure for the fourth-quarter 2015 missed analysts’ consensus

estimate of $697.2 million.

       192.    On February 8, 2016, Alexion filed its Form 10-K for the fiscal year ended

December 31, 2015, which incorporated these results.

       193.    On an earnings conference call discussing the fourth-quarter and full-year 2015

financial results (the “February 3, 2016 Earnings Call”), Defendant Hallal attributed those results

to legitimate business factors and conditions, including the ability of Alexion’s “commercial

team” to “identify and serve a consistently high number of new patients”:

               [O]ur commercial team continued to serve a consistently high
               number of new patients with PNH and aHUS with Soliris.

                                                 ***

               We are pleased that Soliris continues to deliver strong volume
               growth. As we enter our 10th year since the initial Soliris launch,
               we delivered 28% year-on-year volume growth in 2015 and
               continue to see the majority of the opportunity ahead of us for both
               PNH and aHUS. In PNH, in Q4 as in prior quarters, our global
               commercial organization continued to identify and serve a
               consistently high number of new patients across our 50-country
               platform. In aHUS, in Q4 we once again served a consistent
               number of new patients, supporting our views and our
               opportunity to serve patients with aHUS is larger than our
               opportunity to serve patients with PNH.

       194.    On that same call, Sinha also attributed the Soliris sales results to legitimate

business factors and conditions:

               We are pleased with our financial performance in Q4, despite . . .
               macroeconomic factors in Latin American countries. Q4


                                                - 58 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 63 of 115




               revenues reflected the continued steady growth of Soliris in PNH
               and aHUS . . . in the U.S.

               Soliris’ volume growth of 23% was driven by continued growth
               in PNH and aHUS across all geographies in Q4. However,
               volume growth was partially impacted by $15 million in Latin
               American countries due to end-of-year local government
               budgetary constraints.

       195.    Also on the February 3, 2016 Earnings Call, Defendant Sinha responded to an

analyst’s question about sales of Soliris in Brazil:

               [Analyst]: Morning and thanks for taking my questions. Just two
               quick ones perhaps on Soliris trajectories in 2016. I guess first,
               Vikas, I think you mentioned the impact from Latin America in
               Q4, and I assume that was mostly Brazil related. Has that issue
               been fixed in that region? And what does your 2016 guidance
               imply with regard to continued shipments into Brazil?

               [Singha]: So, let's talk about Brazil first. We had a $15 million
               impact in Brazil at the year-end. Government restrictions did delay
               the orders. We feel that we have sorted out the issues right now
               in February. So we factored that into our guidance in 2016. So
               we think that the business as usual is ongoing from February
               onwards.

       196.    Defendants’ statements in the February 3, 2016 Press Release and on the February

3, 2016 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV. In

addition, Defendants’ statements regarding sale of Soliris in Brazil were misleading and omitted

material information because they failed to disclose that the Company relied on the unsustainable

use of illegal and improper sales tactics in Brazil, caused by senior management’s failure to set



                                                - 59 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 64 of 115




an appropriate tone at the top, including working with patient advocacy groups to file fraudulent

lawsuits aimed at obtaining government reimbursement for sales of Soliris in circumstances

involving inconclusive and fake diagnoses of PNH and aHUS, and delaying registration of

Soliris in Brazil to avoid negotiating with the government on price—practices that were key to

the Company’s Brazil operations, which an outside law firm, hired by Alexion, concluded were

“unethical.”

       197.       In the February 3, 2016 Press Release, Alexion announced its full-year 2016

earnings guidance, which projected that sales of Soliris would be in the range of $2.900 billion to

$2.925 billion.

       198.       On the February 3, 2016 Earnings Call, Defendant Hallal provided additional

information about the Company’s full-year 2016 earnings guidance:

                  Turning to our 2016 guidance. On a constant currency basis we
                  forecast revenues of $3.17 billion to $3.22 billion, or 22% to 24%
                  constant currency revenue growth year-over-year. For 2016, we
                  forecast $120 million in currency headwinds. Factoring this in,
                  we are guiding 2016 total revenues of $3.05 billion to $3.1
                  billion, which reflects continued strong underlying demand for
                  Soliris as we serve an increasing number of patients in 2016 and
                  as well as strong first year metabolic revenues of $150 million to
                  $175 million. These metabolic approvals are the first two of up to
                  eight new product or indication approvals that we committed to
                  deliver through 2018 to drive our next level of growth.

       199.       Defendant Sinha also discussed the full-year 2016 earnings guidance on the

February 3, 2016 Earnings Call, stating:

                  Turning to our 2016 guidance. On a constant currency basis, we
                  forecast revenues of $3.17 billion to $3.22 billion, or 22% to 24%
                  revenue growth year-over-year. This robust revenue growth
                  reflects serving an increasing number of patients in PNH and
                  aHUS, as well as the first year of the Strensiq and Kanuma
                  launches where we forecast metabolic franchise revenues of $150
                  million to $175 million. For 2016, we currently forecast $120
                  million or negative 4.6% in currency headwinds. Factoring this in,
                  we are guiding total revenues of $3.05 billion to $3.1 billion.


                                                - 60 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 65 of 115




               Looking at other elements of our 2016 guidance supported by
               continued Soliris growth, the anticipated strength of first year
               metabolic sales and our ongoing financial discipline, I would
               highlight the following points . . . .

               Turning briefly to Q1 guidance. On a constant currency basis,
               total revenues would be $735 million to $745 million. On a
               reported basis, Q1 revenues are expected to be in the range of $700
               million to $710 million, which includes a $35 million FX impact
               year-over-year. On a sequential basis, there is a $10 million
               negative FX impact as well as fewer infusion days in Q1 2016
               versus Q4 2015. For Q1, non-GAAP EPS is expected to be $1.10
               to $1.15.

       200.    The statements regarding the Company’s guidance in the February 3, 2016 Press

Release and on the February 3, 2016 Earnings Call materially misled investors because

Defendants failed to disclose that these projections rested on the assumption that Alexion would

continue to use unsustainable, illegal, and improper sales tactics, caused by senior management’s

failure to set an appropriate tone at the top, as described above in Section IV.

               12.     March 16, 2016 Barclays Global Health Conference

       201.    On March 16, 2016, Defendant Hallal attended the Barclays Global Health Care

Conference with analyst and investors. During the conference, Defendant Hallal attributed

Alexion’s ability to “continue on an annual basis to identify a similar number of new patients

with PNH” to the Company’s “disease awareness and diagnostic initiatives . . . across our 50-

country operating platform”:

               When we look at PNH, really the durability of this franchise stands
               out on the slide, and what you see on the slide on the left-hand side
               is that, in our core territories of the U.S., Europe and Japan, the
               territories where we have been operating the longest, we continue
               on an annual basis to identify a similar number of new patients
               with PNH. This makes up the majority of new patients who
               commence Soliris treatment in any given year. And this continued
               trend is really driven by our disease awareness and diagnostic
               initiatives in which we run across our 50-country operating
               platform.



                                               - 61 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 66 of 115




       202.    Defendant Hallal’s statements during the March 16, 2016 Barclays Global Health

Care Conference attributing Alexion’s sales of Soliris to legitimate business factors and

conditions materially misled investors because Defendant Hallal failed to disclose that the key

drivers of those results were instead directly attributable to Alexion’s unsustainable use of illegal

and improper sales tactics, caused by senior management’s failure to set an appropriate tone at

the top, including reliance on pull-in sales in a manner that violated the Company’s policies and

procedures, as well as on other illegal tactics, as described above in Section IV.

               13.     April 28, 2016 Press Release and Earnings Conference Call

       203.    On April 28, 2016, Alexion issued a press release in which it announced its first-

quarter 2016 financial results, disclosing that net product sales of Soliris were $665 million (the

“April 28, 2016 Press Release”). This sales figure considerably missed analysts’ consensus

estimate of $692 million.

       204.    On April 29, 2016, Alexion filed its Form 10-Q for the quarterly period ended

March 31, 2016, which incorporated these sales figures.

       205.    On an earnings conference call discussing the first-quarter 2016 financial results

(the “April 28, 2016 Earnings Call”), Defendant Hallal attributed those results to legitimate

business factors and conditions in the Company’s “core Soliris business” despite

“macroeconomic weakness . . . primarily in Brazil”:

               During the quarter, we achieved many commercial . . . milestones.
               First, we grew our core Soliris business, largely driven by a
               steady number of new patients treated in the U.S., Europe and
               Japan.

                                                ***

               Looking at Soliris in Q1, we grew our core business by serving a
               consistently high number of new patients with PNH and aHUS
               in the U.S., Europe and Japan, the territories where we have
               been operating the longest. This was offset by increased


                                               - 62 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 67 of 115




               macroeconomic weakness in Latin American countries, primarily
               in Brazil and Argentina. Despite the weakness in Latin America,
               we continue to see the majority of growth ahead of us, for both
               PNH and aHUS across our 50-country operating platform.

       206.    On that same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions in the Company’s “core territories” despite

“macroeconomic weakness . . . primarily in Brazil”:

               In Q1, total revenues increased to $701 million. This 17% revenue
               growth was driven by a 24% increase in volume, negatively
               impacted by 5% or $30 million in currency headwinds compared to
               the year-ago quarter.

               Soliris revenues were $665 million in Q1. While growth in our
               core territories remained strong, Soliris revenue growth was
               impacted mainly by three factors: increasing macroeconomic
               weakness in Latin America, resulting in an impact to new patient
               starts and treatment interruptions, primarily in Brazil and
               Argentina; currency headwinds; and our usual seasonality that we
               see every year as we move from Q4 to Q1. Year-over-year, Soliris
               volume growth was 18%, and was driven by continued growth in
               PNH and aHUS.

       207.    Defendants’ statements in the April 28, 2016 Press Release and on the April 28,

2016 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.

       208.    During the April 28, 2016 Earnings Call, Defendants Hallal responded to an

analyst’s questions regarding the “Latin American impact in Q1”:

               [Analyst]: Vikas [Sinha] and David [Hallal], I just wanted to drive
               down a little bit more into the Latin American impact in Q1.



                                               - 63 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 68 of 115




               [Hallal]: Yeah. So as we said during the call, Eric, we served a
               steady number of new patients in the U.S., Europe and Japan with
               Soliris. It’s consistent with what we’ve seen over the year since
               launching PNH and aHUS in those countries. In Q1, the revenue
               growth in LatAm was clearly affected by increased
               macroeconomic weakness, and the new patient starts and
               treatment interruptions impacted us primarily in Brazil and
               Argentina. And actually the weakness expanded geographically
               versus the fourth quarter where we saw weakness primarily in
               Brazil only.

       209.    Defendant Sinha also responded to an analyst’s questions about Brazil:

               [Analyst]: . . . [W]e potentially could have a new government in
               Brazil, so what could that impact your revenue in Soliris?

               [Sinha]: . . . on the Brazil side, it’s more the political instability in
               the country, that’s what we see.

       210.    Defendants’ statements regarding sale of Soliris in Brazil were misleading and

omitted material information because Defendants failed to disclose that the Company relied on

the unsustainable use of illegal and improper sales tactics in Brazil, caused by senior

management’s failure to set an appropriate tone at the top, including working with patient

advocacy groups to file fraudulent lawsuits aimed at obtaining government reimbursement for

sales of Soliris in circumstances involving inconclusive and fake diagnoses of PNH and aHUS,

and delaying registration of Soliris in Brazil to avoid negotiating with the government on price—

practices that were key to the Company’s Brazil operations, which an outside law firm, hired by

Alexion, concluded were “unethical.”

       211.    The April 28, 2016 Press Release also provided an update with respect to the

Company’s full-year 2016 earnings guidance, explaining that “Alexion expects 2016 total

revenues to be at the low end of our previously guided range of $3,050 million to $3,100 million,

primarily due to increased macroeconomic weakness in Latin America, partially offset by an

increase in Strensiq revenues and the strengthening of foreign currencies.”



                                                - 64 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 69 of 115




        212.      On the April 28, 2016 Earnings Call, Defendant Hallal provided additional

details about the Company’s full-year 2016 earnings guidance:

                  Turning briefly to our 2016 guidance, we expect total revenues to
                  be at the low end of our previously guided range of $3.05 billion to
                  $3.1 billion, primarily due to increased macroeconomic weakness
                  in Latin America, partially offset by early strength of the Strensiq
                  launch and the strengthening of foreign currencies versus our
                  previous expectations. We also expect 2016 non-GAAP EPS to be
                  at the low end of the previously guided range of $5.00 to $5.20 per
                  diluted share.

        213.      Similarly, Defendant Sinha stated as follows on the April 28, 2016 Earnings Call:

                  Turning to our 2016 guidance, we expect total revenues to be at the
                  low end of our previously guided range of $3.05 billion to $3.1
                  billion. Soliris revenues will be in the range $2.835 billion to
                  $2.875 billion. While we continue to see growth in our core
                  territories and expect to benefit from strengthening foreign
                  currencies, we expect Soliris revenue growth in 2016 to continue
                  to be negatively impacted by increased macroeconomic weakness
                  in Latin America.

        214.      The statements regarding the Company’s guidance in the April 28, 2016 Press

Release and on the April 28, 2016 Earnings Call materially misled investors because Defendants

failed to disclose that these projections rested on the assumption that Alexion would continue to

use unsustainable, illegal, and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, as described above in Section IV.

        215.      Following the April 28, 2016 Earnings Call, several analysts commented on the

issues Alexion appeared to be facing in Latin America, and in Brazil specifically. In an April 28,

2016 analyst report, Morgan Stanley stated: “[Management] highlighted Brazil (political) and

Argentina (currency down 50%) as the major issues with [Latin America] representing ~10% of

Soliris sales.”

        216.      Similarly, on May 1, 2016, Guggenheim Securities issued a report that stated:

“Alexion reduced 2016 Soliris revenue guidance below the low end of the prior guidance range


                                                 - 65 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 70 of 115




and cited macroeconomic headwinds in Latin America . . . particularly Argentina and Brazil as

specific countries. Management noted that there was a reduction in new patient starts and

treatment interruptions occurred. . . . The specific factor[s] contributing to the headwinds were

not provided by management.”

               14.    May 10, 2016 Bank of America
                      Merrill Lynch Health Care Conference

       217.    On May 10, 2016, Defendant Sinha attended the Bank of America Merrill Lynch

Health Care Conference with analysts and investors.

       218.    During the conference, Defendant Sinha attributed Alexion’s lowered guidance to

“macroeconomic factors in Brazil,” where he said the “issue[]” was “impeachment proceeding

against the government,” that “the Minister of Health also had resigned,” and, “a lack of

coordination going on, and budgetary impacts within their own country is constrained”:

               [Sinha]: [T]he guidance that we gave, we guided towards the
               lower end of our guidance of $3.05 billion to $3.1 billion,
               primarily driven by the weakness that we saw due to the
               macroeconomic factors in Brazil and Argentina.

                                               ***

               [Analyst]: Maybe I can start by asking you, first, about the
               situation that’s happening in [Latin America]. Because you
               mentioned that in 1Q, and that’s the source of the miss, maybe, for
               1Q results. So, can you talk about – a little more about what’s
               happening in [Latin America], and what’s factored in your
               guidance for the year? And also, how committed are you to the
               business in [Latin America] in the longer term?

               [Sinha]: So, during our Q1 call, we mentioned about a Latin
               American situation, mainly in two countries – Brazil and
               Argentina. Both have different issues. Brazil is in a situation
               where we have an impeachment proceeding against the
               government right now. And we also saw, right at the time of the
               earnings call, that the Minister of Health also had resigned.

               And so, it’s been a situation where there seems to be a lack of
               coordination going on, and budgetary impacts within their own


                                              - 66 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 71 of 115




               country is constrained. What we have seen from moving from
               Q4 to Q1 is that new patient adds have not been there; and we’re
               also seeing interruptions in the dosing of the existing patients.

       219.    Defendant Sinha also answered an analyst’s questions regarding the “competitive

advantage” of Alexion’s “marketing organizations”:

               [Analyst]: But you do have the competitive advantage that you do
               have the sales and marketing organizations in ground in all these
               markets you’re serving today.

               [Sinha]: Yes, Ying. And altogether, we are at 50 countries
               globally now. We’re selling in 50 countries. And people on the
               ground who are constantly educating both the physician, and
               through physician to the patient. And in US, we actually have
               case managers who have the ability to talk to the patients too.

       220.    Defendant Sinha’s above-quoted statements made during the May 10, 2016 Bank

of America Merrill Lynch Health Care Conference materially misled investors because Sinha

failed to disclose that the Company relied on the unsustainable use of illegal and improper sales

tactics, caused by senior management’s failure to set an appropriate tone at the top, including

Alexion’s use of illegal and improper sales tactics with patients and physicians, as well as

working with patient advocacy groups in Brazil to file fraudulent lawsuits aimed at obtaining

government reimbursement for sales of Soliris in circumstances involving inconclusive and fake

diagnoses of PNH and aHUS, and delaying registration of Soliris in Brazil to avoid negotiating

with the government on price—practices that were key to the Company’s Brazil operations,

which an outside law firm, hired by Alexion, concluded were “unethical.”

               15.     July 28, 2016 Press Release and Earnings Conference Call

       221.    On July 28 2016, Alexion issued a press release in which it announced its second-

quarter 2016 financial results, disclosing that net product sales of Soliris were $701 million (the

“July 28, 2016 Press Release”). This sales figure beat analysts’ consensus estimates of $697

million.


                                               - 67 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 72 of 115




       222.    On July 29, 2016, Alexion filed its Form 10-Q for the quarterly period ended June

30, 2016, which incorporated these sales figures.

       223.    On an earnings conference call discussing the second-quarter 2016 financial

results (the “July 28, 2016 Earnings Call”), Defendant Hallal attributed those results to legitimate

business factors and conditions, including the ability of Alexion’s “commercial team” to

“identify and serve consistently high number of newly diagnosed patients globally be executing

[the Company’s] . . . diagnostic initiatives”:

               In Q2, the Alexion team extended our global leadership in rare
               diseases as we continued to provide life-transforming therapies to
               more patients with rare and devastating disorders. As our
               commercial team reached more patients during the quarter, we
               delivered strong revenue growth and improved our operating
               margins while also progressing our robust R&D pipeline. Our
               commercial organization delivered total year-over-year revenue
               growth of 18% and volume growth of 23% driven by the strength
               of our three highly-innovative marketed therapies.

                                                 ***

               Now, for a closer look at our commercial performance, starting
               with Soliris in PNH. In Q2, we continued to identify and serve a
               consistently high number of newly-diagnosed patients globally by
               executing our PNH diagnostic initiatives with urgency. Given
               that one-third of undiagnosed and untreated patients with PNH will
               die within five years, we aim to deliver the benefits of Soliris to
               even more patients. Our nine year track record of consistently
               identifying a similar number of new patients with PNH on a
               quarterly basis across our 50 country platform affirms our view
               that globally the majority of patients with PNH have yet to
               receive an accurate diagnosis, let alone commence appropriate
               treatment.

               Moving to Soliris in aHUS, we once again served a consistently
               high number of new patients globally. We see a significant
               opportunity ahead to serve more patients, recognizing that a high
               number of patients with aHUS presenting with severe and rapidly
               progressing renal failure still do not receive a rapid and accurate
               diagnosis.




                                                 - 68 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 73 of 115




               Matched for time now, 19 quarters from their respective approvals
               in the U.S., there are more patients actively receiving Soliris for
               aHUS than there had been for PNH. Given the higher incidence
               of aHUS compared to PNH, combined with the improvements we
               continue to make to our diagnostic initiatives, we expect that this
               trend of new patient additions will continue, confirming our view
               that our opportunity to serve patients with aHUS is larger than
               that of PNH. As we look forward, the combination of the high
               proportion of undiagnosed patients with PNH and the high
               incidence of aHUS gives us great confidence that the majority of
               growth in our core Soliris business is ahead of us.

       224.    On that same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions:

               Soliris revenues were $701 million. Year-over-year volume
               growth was driven by continued global growth in PNH and
               aHUS. While macroeconomic weakness in Latin America
               continues, the guidance we provided in April remains on track for
               the remainder of the year.

       225.    Also on the call, Sinha answered an analyst’s question about Latin America by

stating that “we are getting full support on the existing patients” in that region:

               [Analyst]: Maybe to start with, Vikas, can you provide an update
               in the LatAm market because obviously you guys have some
               headwind in the 1Q. So what’s happening in 2Q and what's your
               outlook for the second half?

               [Sinha]: On the LatAm front, as you recall, we have talked about
               $60 million to $90 million impact that we’re expecting this year.
               We have not seen any change in our views there. Definitely new
               patient adds are tough there, but we are getting full support on the
               existing patients.

       226.    Defendants’ statements in the July 28, 2016 Press Release and on the July 28,

2016 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate



                                                - 69 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 74 of 115




tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV. In

addition, Defendants’ statements regarding sale of Soliris in Latin America were misleading and

omitted material information because they failed to disclose that the Company relied on the

unsustainable use of illegal and improper sales tactics in Brazil, caused by senior management’s

failure to set an appropriate tone at the top, including working with patient advocacy groups to

file fraudulent lawsuits aimed at obtaining government reimbursement for sales of Soliris in

circumstances involving inconclusive and fake diagnoses of PNH and aHUS, and delaying

registration of Soliris in Brazil to avoid negotiating with the government on price—practices that

were key to the Company’s Brazil operations, which an outside law firm, hired by Alexion,

concluded were “unethical.”

       227.    The July 28, 2016 Press Release also provided an update with respect to the

Company’s full-year 2016 earnings guidance: “Alexion is reiterating its total revenue and Soliris

guidance ranges provided on the first quarter of 2016 earnings call on April 28, 2016.”

       228.     On the July 28, 2016 Earnings Call, Defendant Hallal provided additional details

about the Company’s full-year 2016 earnings guidance:

               Turning briefly to our 2016 guidance, we are reiterating our Soliris
               revenue guidance. And based on the strength of the Strensiq
               launch, we are increasing our metabolic revenue guidance to $200
               million to $220 million. In addition, based on the change in our
               non-GAAP tax rate, we’re revising our non-GAAP EPS guidance
               for 2016 to a range of $4.50 to $4.65. As we did in Q2, we will
               accelerate EPS in 2016 and beyond, driven by continued growth of
               Soliris, Strensiq and Kanuma and operating expense discipline,
               which will expand our operating margins to 48% to 49% in 2018.

       229.    Similarly, Defendant Sinha stated as follows on the July 28, 2016 Earnings Call:

               Turning to other elements of our 2016 guidance, I would like to
               highlight a few key points. First, we are reiterating our Soliris
               revenue guidance.


                                               - 70 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 75 of 115




       230.    The statements regarding the Company’s guidance in the July 28, 2016 Press

Release and on the July 28, 2016 Earnings Call materially misled investors because Defendants

failed to disclose that these projections rested on the assumption that Alexion would continue to

use unsustainable, illegal, and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, as described above in Section IV.

               16.     September 13, 2016 Morgan Stanley Global Health Care Conference

       231.    On September 13, 2016, Defendant Hallal attended the Morgan Stanley Global

Health Care Conference with analysts and investors. During the conference, an analyst asked

Hallal how he would respond to “investors” that “worry” about “Soliris” and “Latin America.”

Hallal responded that although “Brazil . . . is our largest country in which we operate in Latin

America” and had “seen some macroeconomic challenges,” he “expected the impact of the Latin

American weakness to be no more than 2% to 3% of our global Soliris sales”:

               [Analyst]: Just on Soliris, I think when I speak to investors, people
               tend to bring up the headwinds associated with Soliris, and that’s
               what they worry about. So they . . . worry about Latin America, . .
               . . Maybe could you address . . . ?

               [Hallal]: . . . “[W]e have from time to time seen some geographic
               headwinds due to specific macroeconomic challenges. And the
               most recent one for us has really been the Latin American, both
               macroeconomic challenges for them as well as political
               instability in Brazil, which is our largest country in which we
               operate in Latin America.

               Now, we’ve guided that we expected the impact of the Latin
               American weakness to be no more than 2% to 3% of our global
               Soliris sales. We guided that impact would be about $60 million
               to $90 million within the Soliris guidance for 2016 and our view
               on that really remains unchanged.

       232.    The above-quoted statements made during the September 13, 2016 Morgan

Stanley Global Health Care Conference were misleading because Defendant Hallal failed to

disclose that Alexion’s sales were dependent on unsustainable use of illegal and improper sales


                                               - 71 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 76 of 115




tactics, caused by senior management’s failure to set an appropriate tone at the top, including

reliance on pull-in sales in a manner that violated the Company’s policies and procedures, as

well as on other illegal tactics, as described above in Section IV. Defendant Hallal’s statements

were also misleading because he failed to disclose that the Company relied on the unsustainable

use of illegal and improper sales tactics in Brazil, caused by senior management’s failure to set

an appropriate tone at the top, including working with patient advocacy groups to file fraudulent

lawsuits aimed at obtaining government reimbursement for sales of Soliris in circumstances

involving inconclusive and fake diagnoses of PNH and aHUS, and delaying registration of

Soliris in Brazil to avoid negotiating with the government on price—practices that were key to

the Company’s Brazil operations, which an outside law firm, hired by Alexion, concluded were

“unethical.”

                17.    October 27, 2016 Press Release and Earnings Conference Call

       233.     On October 27, 2016, Alexion issued a press release in which it announced its

third-quarter 2016 financial results, disclosing that net product sales of Soliris were $729 million

(the “October 27, 2016 Press Release”). This sales figure beat analysts’ consensus estimates of

$727 million.

       234.     On an earnings conference call discussing the third-quarter 2016 financial results

(the “October 27, 2016 Earnings Call”), Defendant Hallal attributed those results to legitimate

business factors and conditions, including the Company’s “successful programs to identify new

patients”:

                In Q3, the global Alexion team delivered on our patient-centered
                objectives. Our commercial organization achieved total year-over-
                year revenue growth of 20% and volume growth of 23%, driven by
                the strength of our three highly innovative marketed therapies.
                First, Soliris continued to grow with a steady number of new
                patients with PNH and aHUS treated globally.



                                               - 72 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 77 of 115




                                                ***

               Taking a closer look at our commercial performance, starting with
               Soliris. In Q3, we continued to identify and treat a consistently
               high number of newly diagnosed patients with PNH globally by
               executing our diagnostic initiatives with urgency. In aHUS, we
               once again served a consistently high number of new patients
               across our 50-country platform, and when adjusted for time for
               their respective approvals, we continue to believe that our
               opportunity to serve patients with aHUS is larger than that of PNH.

               As we look forward to our core Soliris business, we are confident
               that the majority of growth is in front of us, due to the
               combination of the high proportion of undiagnosed patients with
               PNH and the high incidence of aHUS, along with our successful
               programs to identify new patients with both diseases.

                                                ***

               Looking at our financial performance for the quarter, we achieved
               total revenues of $799 million, an increase of 20% over Q3 2015,
               with volume growth of 23%. This year-over-year revenue growth
               was driven by the continued growth of Soliris across
               geographies.

       235.    On that same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions:

               Soliris revenues were $729 million. Year-over-year volume growth
               was driven by continued global growth in PNH and aHUS, despite
               continued macroeconomic weakness in Latin America.

       236.    Defendants’ statements in the October 27, 2016 Press Release and on the October

27, 2016 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.




                                               - 73 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 78 of 115




        237.   The October 27, 2016 Press Release also discussed the Company’s full-year 2016

earnings guidance: “Alexion expects 2016 total revenues to be at the upper end of our

previously guided range of $3.05 to $3.10 billion. Alexion is reiterating its Soliris revenue

guidance and, based on the strength of the Strensiq launch, is further increasing its Metabolic

revenue guidance to $225 to $235 million.”

        238.   During the October 27, 2016 Earnings Call, Defendant Hallal provided additional

details about the guidance:

               Turning briefly to our 2016 guidance . . . we now expect total
               revenues to be at the upper end of our guidance of $3.05 billion to
               $3.1 billion. This reflects our prior Soliris revenue guidance of
               $2.835 billion to $2.875 billion . . . .

        239.   Defendant Sinha also discussed the Company’s full-year 2016 earnings guidance

on the call:

               Turning to our 2016 guidance, based on our strong operating
               results, we now expect to be at the upper end of our prior revenue
               and non-GAAP EPS guidance. Specifically, I would like to
               highlight a few key points. Total revenue guidance reflects that
               we are reiterating our Soliris revenue guidance . . . .

        240.   The statements regarding the Company’s guidance in the October 27, 2016 Press

Release and on the October 27, 2016 Earnings Call materially misled investors because

Defendants failed to disclose that these projections rested on the assumption that Alexion would

continue to use unsustainable, illegal, and improper sales tactics, caused by senior management’s

failure to set an appropriate tone at the top, as described above in Section IV.

               18.     February 16, 2017 Press Release and Earnings Conference Call

        241.   On February 16, 2017, Alexion issued a press release in which it announced its

fourth-quarter and full-year 2016 financial results, disclosing that net product sales of Soliris

were $749 million for the quarter and $2.843 billion for the full year (the “February 16, 2017



                                                - 74 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 79 of 115




Press Release”). The sales figure for the fourth-quarter 2016 missed analysts’ consensus

estimates of approximately $758.4 million.

       242.    On February 16, 2017, Alexion filed its Form 10-K for the full year ended

December 31, 2016, which incorporated these sales figures.

       243.    On an earnings conference call discussing the fourth-quarter and full year 2016

financial results (the “February 16, 2017 Earnings Call”), Defendant Brennan attributed those

results to legitimate business factors and conditions:

               Second, we delivered strong volume growth for Soliris, and
               continued to see that the majority of the opportunity to serve
               patients with PNH and aHUS with our complement franchise is
               ahead of us.

       244.    On that same call. Defendant Anderson also attributed the Soliris sales results to

legitimate business factors and conditions:

               Soliris revenues, as you can see, were $749 million in the quarter.
               Year-over-year volume growth of 10%, driven by global growth in
               both PNH and HUS.

                                                ***

               Full-year Soliris growth was driven by volume growth of 14%,
               reflecting continued global growth in PNH and aHUS, despite
               continued challenges with access and treatment interruptions in
               Latin America.

       245.    Also on the February 16, 2017 Earnings Call, Defendant Thiel further discussed

the factors that purportedly contributed to Soliris sales growth in 2017, stating:

               [W]ith Soliris and PNH, in 2016 we continued to identify a steady
               addition of new patients, even in the territories where we have
               been operating the longest and despite the ongoing delays in new
               patient starts and treatment interruptions in Latin America.
               Additionally, we are still seeing that the majority of patients
               starting on Soliris are also newly diagnosed. This affirms our
               view that globally the majority of patients with PNH have yet to
               receive an accurate diagnosis, let alone initiate treatment.



                                               - 75 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 80 of 115




               [I]n aHUS, we also continue to see a consistent number of new
               patients initiating Soliris treatment. Matched for time from their
               respective approvals, we continue to see more patients globally
               receiving Soliris for aHUS than there have been for PNH.
               Importantly, in the US, as of the end of 2016, the number of aHUS
               patients being treated has now surpassed PNH. This supports our
               view that the opportunity to serve patients with aHUS is larger
               than that of PNH.

               We’re pleased with our performance in 2016, and expect continued
               growth ahead of us for Soliris in both PNH and aHUS, even as we
               are simultaneously enrolling patients into the ALXN 1210 trials.

       246.    Defendants’ statements in the February 16, 2017 Press Release and on the

February 16, 2017 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate

business factors and conditions materially misled investors because Defendants failed to disclose

that the key drivers of those results were instead directly attributable to Alexion’s unsustainable

use of illegal and improper sales tactics, caused by senior management’s failure to set an

appropriate tone at the top, including reliance on pull-in sales in a manner that violated the

Company’s policies and procedures, as well as on other illegal tactics, as described above in

Section IV.

       247.    The February 16, 2017 Press Release also provided the Company’s full-year 2017

earnings guidance, projecting Soliris sales to be in the ranges of $3.025 and $3.1 billion.

       248.    Defendant Anderson provided additional details about the full-year 2017 earnings

guidance on the February 16, 2017 Earnings Call, stating:

               Looking at Soliris, our revenue guidance is $3.025 billion to $3.1
               billion. Our expectation is we will continue to identify a steady
               number of new patients with both PNH and aHUS globally in
               2017. We also expect that patient recruitment for our ongoing and
               planned 1210 trials, as well as other studies, will have a $70
               million to $110 million impact headwind on Soliris revenues
               during the year.




                                               - 76 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 81 of 115




               In Latin America, access challenges will continue, but we expect
               Soliris revenues to stabilize year over year, and Carsten will make
               a few comments about that in a moment.

       249.    The statements regarding the Company’s guidance in the February 16, 2017 Press

Release and on the February 16, 2017 Earnings Call materially misled investors because

Defendants failed to disclose that these projections rested on the assumption that Alexion would

continue to use unsustainable, illegal, and improper sales tactics, caused by senior management’s

failure to set an appropriate tone at the top, as described above in Section IV.

               19.     April 27, 2017 Press Release and Earnings Call

       250.    On April 27, 2017, Alexion issued a press release in which it announced its first-

quarter 2017 financial results, disclosing that net product sales of Soliris were $783 million,

which “include[ed] a benefit of $29 million from a change in revenue recognition in 2017 for

certain non-U.S. markets” (the “April 27, 2017 Press Release”). This sales figure beat analysts’

consensus estimates by $41 million (in part because of the revenue-recognition change).

       251.    On April 27, 2017, Alexion filed its Form 10-Q for the quarterly period ended

March 31, 2017, which incorporated these sales figures.

       252.    On an earnings conference call discussing the first-quarter 2017 financial results

(the “April 27, 2017 Earnings Call”), Defendant Anderson attributed those results to legitimate

business factors and conditions:

               Soliris revenue was $783 million. Year-over-year volume for
               Soliris grew 19%. If you exclude the $29 million revenue
               recognition benefit, Soliris revenue was $754 million in the
               quarter, reflecting volume growth of 15%, again, driven by
               growth across geographies in both PNH and aHUS.

       253.    Also on the April 27, 2017 Earnings Call, Defendant Thiel further discussed the

factors that purportedly contributed to Soliris sales growth in 2017, stating:




                                               - 77 -
Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 82 of 115




       Let me start with Soliris in PNH on Slide 17. In Q1, we continued
       to identify and serve a steady number of new patients, even in the
       markets where we have been operating the longest and despite
       the ongoing delays in new patient starts and treatment
       interruptions in Latin America. Additionally, we are still seeing
       that the majority of patients starting on Soliris are also newly
       diagnosed. This affirms our view that globally, the majority of
       patients with PNH have yet to receive an actual diagnosis, let
       alone initiate treatment.

       Now turning to atypical HUS on Slide 18. We’re seeing a growing
       number of new patients starting on Soliris. Some of this new
       patient growth is driven by physicians identifying patients that
       have received a shorter duration of Soliris therapy. Still, on a net
       basis, the number of atypical HUS patient additions is higher than
       PNH. Due to this strong momentum, even though atypical HUS
       was approved 4 years after PNH, the number of patients being
       treated in leading markets like the U.S. as well as other markets
       such as Spain and Turkey has now surpassed PNH. This
       strengthens our view that the opportunity to serve patients with
       atypical HUS is larger than that of PNH.

       In summary, we are pleased with our Soliris performance in the
       first quarter of 2017 and expect continued growth ahead of us in
       both PNH and atypical HUS, even as we are simultaneously
       enrolling patients into our ALXN1210 trials.

254.   Later in the call, Thiel further discussed Soliris sales results:

       Indeed, we are very pleased with what we have seen in the first
       quarter, both consistently in PNH and in aHUS. Normally, Q1
       tends to be seasonally a rather lower quarter. In addition, we knew
       in Q1 that our R&D organization would execute flawlessly in
       recruiting patients in the 1210 study. And we, of course, saw a
       significant leadership change bringing uncertainty in our
       organization. So we said we need to keep an eye on the ball and
       drive operational excellence in Q1. So it’s not really one big item
       that drove Q1 performance but the sum of many. Fewer days,
       patient identification, conversion to treatment, these metrics scored
       very high and across the globe. The one region that continues to
       be a challenge for us is Latin America, as we have stated earlier,
       and we expect that this will continue in 2017. So as I look to Q2,
       Q3, as Dave has earlier mentioned, the timing of bulk orders, the
       access of – access challenges in Latin America as well as the
       impact of the 1210 study recruitment and potential competitive
       recruitment will impact the Q2 and Q3 results.



                                        - 78 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 83 of 115




       255.    Defendants’ statements in the April 27, 2017 Press Release and on the April 27,

2017 Earnings Call attributing Alexion’s net product sales of Soliris to legitimate business

factors and conditions materially misled investors because Defendants failed to disclose that the

key drivers of those results were instead directly attributable to Alexion’s unsustainable use of

illegal and improper sales tactics, caused by senior management’s failure to set an appropriate

tone at the top, including reliance on pull-in sales in a manner that violated the Company’s

policies and procedures, as well as on other illegal tactics, as described above in Section IV.

       256.    On the April 27, 2017 Earnings Call, Defendant Hantson provided details about

the sustainability of the Soliris pricing model, in response to a question from an analyst:

               [Analyst]: [W]e have heard a lot of talk about the Soliris pricing in
               the future. If you could help us understand if we should expect any
               significant change to your pricing strategy in near term. Are you
               seeing any incremental pressure from the payers?

               [Hantson]: Well, it’s fair to say that there is increased pressure on
               pricing, I think, across geographies. But I believe our model is
               sustainable. And just to make a couple of points why I believe
               that. First of all, our products are very innovative. They are very
               valued, and they are truly transformative for patients. And that’s
               being recognized by the payer. I would say, #2 is our therapies are
               unique, and they are not interchangeable. So you’ve seen
               discussions on tenders or bidding process and so on. That’s not
               really something that would work for our products. And #3 is we
               are growing our company through volume, not through price
               increase. So I do believe that this is a sustainable model for us for
               now. And I know that Dave wants to add a couple of things here.

       257.    Defendant Hantson statement quoted above was misleading because he failed to

disclose, despite having access to information demonstrating as much, that Alexion relied on the

unsustainable use of illegal and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, including reliance on pull-in sales in a manner that violated the

Company’s policies and procedures, as well as on other illegal tactics, as described above in

Section IV.


                                                - 79 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 84 of 115




       258.    The April 27, 2017 Press Release also provided an update with respect to the

Company’s full-year 2017 earnings guidance: “Alexion is reiterating its 2017 revenue and

operating margin guidance provided on the fourth quarter and full year 2016 earnings call.”

       259.    On the April 27, 2017 Earnings Call, Defendant Anderson provided additional

details about the guidance, stating:

               Now for Soliris, our revenue guide remains $3.025 billion to $3.1
               billion. It assumes we’re going to continue to identify a steady
               number of new patients in PNH as well as aHUS globally. We
               expect that patient recruitment for our ongoing and planned 1210
               trials, as well as other studies, will have a $70 million to $110
               million impact, so a headwind on the Soliris revenue during the
               year. We expect this impact to increase in the second quarter and
               through the year. And importantly, this guidance is a framework
               for the year, and we'll expect some, again, variability in quarter-to-
               quarter revenue due to the timing of bulk orders in certain non-
               U.S. markets.

       260.    The statements regarding the Company’s guidance in the April 27, 2017 Press

Release and on the April 27, 2017 Earnings Call materially misled investors because Defendants

failed to disclose that these projections rested on the assumption that Alexion would continue to

use unsustainable, illegal, and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, as described above in Section IV.

       B.      Alexion’s Codes of Ethics and Conduct Misrepresented
               and Concealed the Company’s Unethical Sales Practices

       261.    The misleading nature of Defendants’ statements concerning revenue and sales

practices during the Class Period were compounded by additional contemporaneous

misrepresentations regarding the Company’s adherence to applicable laws and ethical guidelines.

Moreover, the Company made these statements about its corporate ethics even after an

investigation it commissioned by an outside law firm into its Brazilian operations concluded in a

report provided to the Company that its conduct was “unethical.”



                                               - 80 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 85 of 115




       262.   From the beginning of the Class Period,8 Alexion published on its website a Code

of Ethics (the “2011 Code of Ethics”) that Alexion filed on April 13, 2011 on Form 8-K.

Alexion’s Forms 10-K filed on February 10, 2014, and February 6, 2015, each reference the

2011 Code of Ethics as follows:

              CODE OF ETHICS

              We have adopted the Alexion Pharmaceuticals, Inc. Code of
              Conduct, or code of ethics, that applies to directors, officers and
              employees of Alexion and its subsidiaries and complies with the
              requirements of Item 406 of Regulation S-K and the listing
              standards of the NASDAQ Global Select Market. Our code of
              ethics is located on our website
              (http://ir.alexionpharm.com/governance.cfm). We amended the
              code of ethics in April 2011 and any future amendments or waivers
              to our code of ethics will be promptly disclosed on our website and
              as required by applicable laws, rules and regulations of the SEC
              and NASDAQ.

              The 2011 Code of Ethics stated in part:

              Alexion is committed to complying with all applicable laws,
              regulations and adhering to the highest ethical standards in
              every country in which we operate.

                                              ***

              The Board of Directors of Alexion has adopted this Global Code of
              Conduct (“Code”), which is applicable to all of the Company’s
              officers, directors and employees (each an “Associate” and
              collectively, the “Associates”). Alexion expects that those who do
              business for us, such as consultants, agents, distributors and
              independent contractors, shall adhere to the principles outlined in
              this Code.

                                              ***

              In the event of any inconsistency between an Alexion policy and a
              law or regulation, Associates are obligated to comply with the laws




8
 On April 13, 2011, Alexion filed a Form 8-K announcing that the Company had amended its
Code of Ethics, which it made available on its website.


                                             - 81 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 86 of 115




              and regulations unless Alexion policy imposes stricter
              requirements.

                                               ***

              Alexion operates in a heavily regulated industry and is subject to a
              variety of legal and ethical standards. As a U.S. based company,
              Alexion expects all Associates around the world to comply with
              U.S. laws, regulations and standards governing the conduct of its
              business. Additionally, Alexion expects Associates to comply
              with the laws, regulations and standards in all countries in which
              they operate, to which they travel, and where Alexion otherwise
              does business.

                                               ***

              In the United States, the Pharmaceutical Research and
              Manufacturers Association (“PhRMA”) has issued the PhRMA
              Code on Interactions with Healthcare Professionals (the “PhRMA
              Code”), with which the member companies of PhRMA have
              voluntarily undertaken to comply. Globally, Alexion Associates
              must be aware of the requirements set forth in standards
              provided by trade groups and professional associations in the
              territories where they conduct business.

                                               ***

              In the United States, the Foreign Corrupt Practices Act (“FCPA”)
              anti-bribery provisions makes it unlawful for any Associate to
              make or offer a payment of money or anything else of value to a
              foreign official, foreign political party, or any foreign political
              candidate, for the purpose of influencing any act or decision by the
              foreign individual/entity, or to induce that official to affect any
              government act or decision in a manner that would assist Alexion
              to obtain or retain business. The FCPA also requires the
              maintenance of accurate books of account, with all company
              transactions being properly recorded. In order to avoid violations
              of the law, and to avoid the serious consequences attendant to it, all
              Associates, agents and representatives of Alexion shall comply
              with this policy. If you have any questions concerning the law
              applicable to your conduct, or if a local law conflicts with U.S. law
              or Alexion policies, you should contact your local or corporate
              Legal Department representative.

       263.   Alexion made clear through the April 13, 2011 Form 8-K filing regarding

amendments to the Code of Ethics that the code applied globally to Alexion’s operations



                                              - 82 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 87 of 115




domestically and internationally, and “address[es] the conduct and expectations of third parties

doing business with Alexion.”

       264.    The above 2014 and 2015 statements made regarding the 2011 Code of Ethics

were materially false and misleading when made because the Company did not disclose that

Alexion had relied on the unsustainable use of illegal and improper sales tactics, caused by

senior management’s failure to set an appropriate tone at the top, including reliance on pull-in

sales in a manner that violated the Company’s policies and procedures, as well as on other illegal

tactics, and because these statements led the market to believe that Alexion employees adhered

to high ethical standards, including the PhRMA Code when, in fact, and unbeknownst to

investors, Alexion’s sales representative routinely engaged in unethical sales practices that

violated the PhRMA Code. Specifically, Alexion’s sales practices violated the following

provisions of the PhRMA Code:9

               “Companies should . . . ensure that consultant arrangements [with
               healthcare professionals] are neither inducements nor rewards for
               prescribing or recommending a particular medicine or course of
               treatment.” (PhRMA Code, § 6)

               “Companies should . . . ensure that speaking arrangements are
               neither inducements nor rewards for prescribing a particular
               medicine or course of treatment.” (PhRMA Code, § 7)

               “No grants, scholarships, subsidies, support, consulting contracts,
               or educational or practice related items should be provided or
               offered to a healthcare professional in exchange for prescribing
               products or for a commitment to continue prescribing products.
               Nothing should be offered or provided in a manner or on
               conditions that would interfere with the independence of a
               healthcare professional’s prescribing practices.” (PhRMA Code,
               §13)




9
 The PhRMA Code is available at http://phrma-
docs.phrma.org/sites/default/files/pdf/phrma_marketing_code_2008.pdf.


                                               - 83 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 88 of 115




       265.    As detailed in the May 24, 2017 Bloomberg article, see supra Section IV.I.,

Alexion violated these provisions of the PhRMA Code by paying “[a] team of nurses” who

“reported directly to sales” and on whom “pressure to lock in and keep customers was often

heaped.” At “sales meetings” attended by “sales staff and nurses,” Alexion managers would ask

nurses whose patients had “stopped taking Soliris” to “keep the patient on the drug,” tell the

patient “he could get a potentially fatal blood clot if he stops,” and “steer the patient to a

different doctor who might resume treatment.” Alexion would also “pay for travel, lodging, and

meals” for potential patients to meet with “doctors (also paid by Alexion)” along with the

Company’s in-house nurses who “were instructed to gather sign-in sheets with names and

contact information” used to “reach out to attendees who were taking Soliris to begin a dialogue

in the hope of starting them on it.” According to “one former longtime company nurse,” “It was

your feet to the fire, sweat pouring down your back . . . .”

       266.    On April 23, 2014, Alexion filed a Proxy Statement on Schedule 14A referring

investors to the Company’s “Global Code of Conduct” on the Company’s website:

               Code of Ethics

               We adopted the Alexion Pharmaceuticals, Inc. Global Code of
               Conduct, or code of ethics, that applies to directors, officers and
               employees of Alexion and its subsidiaries and complies with SEC
               rules and regulations and the listing standards of the NASDAQ
               Global Select Market. Our code of ethics is located on our website
               at -- http://alxn.com/pdfs/Global_Code_of_Conduct.pdf. We
               amended the code of ethics in April 2011 and any future
               amendments or waivers to our code of ethics will be promptly
               disclosed on our website and as required by applicable laws, rules
               and regulations of the SEC and NASDAQ.




                                                 - 84 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 89 of 115




       267.   As of July 1, 2014,10 Alexion published on its website an “Alexion

Pharmaceuticals, Inc. Code of Ethics and Business Conduct (the “2014 Code of Ethics”), which

included an introduction signed by Defendants Hallal and Bell, which stated in part:

              . . . Ethics and Integrity are foundational at Alexion.

                                              ***

              We believe . . . our commitment to ethics and compliance will
              enable us to succeed today and will also help us to achieve long-
              term success.

       268.   Like the 2011 Code of Ethics, the 2014 Code of Ethics touted Alexion adoption

and compliance with the PhRMA Code:

              We insist on full compliance globally with regulations and
              industry guidelines, and hold ourselves accountable to act in the
              best interests of patients.

                                              ***

              In addition to healthcare laws and regulations governing our
              conduct, a number of trade groups have issued standards
              addressing a range of activities including pharmaceutical
              promotional and educational practices. In the United States, the
              Pharmaceutical Research and Manufacturers Association
              (“PhRMA”) has issued the PhRMA Code on Interactions with
              Healthcare Professionals (the “PhRMA Code”), with which the
              member companies of PhRMA have voluntarily undertaken to
              comply. Alexion has voluntarily adopted and complies with the
              PhRMA Code.

              Alexion employees should pay special attention to all standards
              and regulations that apply to their work and should be especially
              aware of the requirements provided by trade groups and
              professional associations in the territories where they conduct
              business.




10
   The 2014 Code of Ethics is available at
https://web.archive.org/web/20170327201528/http://files.shareholder.com/downloads/ALXN/32
94486843x0x746128/8ca47e5b-ded3-4bf6-88a2-
9e958464a3d3/Alexion_Code_of_Conduct_April_2011.pdf.


                                              - 85 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 90 of 115




               Interactions with Healthcare Professionals

               Our Standard

               On a regular basis, many of us interact with healthcare
               professionals – those individuals who may prescribe, administer,
               recommend, purchase, reimburse, authorize, approve or supply any
               of our medicines or therapies. Many of us also interact with
               government officials, hospital personnel, managed care personnel
               and other healthcare representatives who also make purchasing
               decisions.

                                                ***

               Our Responsibilities

                   •   Take special care to avoid any inappropriate influencing
                       of healthcare professionals.

                   •   Ensure that information about investigational products or
                       unapproved uses is provided only by approved personnel
                       (e.g., Medical Affairs) in a manner approved by the
                       company.

                   •   Interact with healthcare professionals with honesty,
                       fairness and integrity.

                   •   Follow applicable laws and industry guidelines created to
                       avoid potential conflicts of interest.

                   •   Never offer anything of value to a healthcare professional
                       or other customer to influence their medical judgment or
                       purchasing practices.

       269.    The above statements made in the 2014 Code of Ethics were materially false and

misleading when made because the Company did not disclose that Alexion had relied on the

unsustainable use of illegal and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, including reliance on pull-in sales in a manner that violated the

Company’s policies and procedures, as well as on other illegal tactics, and because these

statements led the market to believe that Alexion had “voluntarily adopted and complies” with




                                                - 86 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 91 of 115




the PhRMA Code’s standards of conduct for interacting with healthcare professionals when in

fact Alexion routinely and systematically violated those standards.

       270.    The 2014 Code of Ethics also described Alexion’s “Marketing Practices” as

follows:

               OUR STANDARD

               To ensure the safe and proper use of our products, information
               provided to our customers and healthcare professionals about our
               products must be consistent with the applicable label and approved
               for the intended use based on local legal and regulatory
               requirements.

               OUR RESPONSIBILITIES

                   •   Promote our marketed products only for uses that have
                       been approved in the corresponding jurisdiction, cleared or
                       authorized by the relevant governmental agency.

                   •   Provide only accurate, objective and approved
                       information.

                   •   Avoid actions that could create even the perception of
                       making false or inappropriate product claims,
                       disparagement of competitors or any deceptive marketing
                       communications.

                   •   Never make false statements or provide misleading
                       information or misrepresentation.

                   •   Do not overstate the efficacy of our products, downplay or
                       minimize the risks associated with our products or make
                       unapproved comparative claims about our products.

       271.    The above statements made in the 2014 Code of Ethics were materially false and

misleading when made because the Company did not disclose that Alexion had relied on the

unsustainable use of illegal and improper sales tactics, caused by senior management’s failure to

set an appropriate tone at the top, including reliance on pull-in sales in a manner that violated the

Company’s policies and procedures, as well as on other illegal tactics.



                                                - 87 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 92 of 115




        272.      On April 8, 2015, Alexion filed a Proxy Statement on Schedule 14A referring

investors to the Company’s “Global Code of Conduct” on the Company’s website and noting

that “Our directors, officers and employees are required to comply with the Code.”

        273.      On February 8, 2016, Alexion filed its Form 10-K for 2015, which referred

investors to the Company’s “Code of Conduct, or code of ethics,” which “we amended . . . in

September 2015” and “is located on our website . . . .”

        274.      On March 31, 2016, Alexion filed a Proxy Statement on Schedule 14A referring

investors to the Company’s “new code of ethics, the Alexion Pharmaceuticals, Inc. Code of

Ethics and Business Conduct” (the “2015 Code of Ethics”), noting that it had been “adopted”

“[i]n 2015,” “is located on our website,” and that “[o]ur directors, officers and employees are

required to comply with the Code.” Like the 2014 Code of Ethics, the 2015 Code of Ethics

states in part:

                  We insist on full compliance globally with regulations and
                  industry guidelines . . .

                                                  ***

                  In the United States, the Pharmaceutical Research and
                  Manufacturers Association (“PhRMA”) has issued the PhRMA
                  Code on Interactions with Healthcare Professionals (the “PhRMA
                  Code”), with which the member companies of PhRMA have
                  voluntarily undertaken to comply. Alexion has voluntarily
                  adopted and complies with the PhRMA Code.

                  Alexion employees should pay special attention to all standards
                  and regulations that apply to their work and should be especially
                  aware of the requirements provided by trade groups and
                  professional associations in the territories where they conduct
                  business.

        275.      The above statements made in the 2015 Code of Ethics were materially false and

misleading when made because the Company did not disclose that Alexion had relied on the

unsustainable use of illegal and improper sales tactics, caused by senior management’s failure to


                                                 - 88 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 93 of 115




set an appropriate tone at the top, including reliance on pull-in sales in a manner that violated the

Company’s policies and procedures, as well as on other illegal tactics, and because these

statements led the market to believe that Alexion had “voluntarily adopted and complies” with

the PhRMA Code’s standards of conduct for interacting with healthcare professionals when in

fact Alexion routinely and systematically violated those standards.

       276.     The 2015 Code of Ethics also repeats the same representations regarding

Alexion’s standards for “Interactions with Healthcare Professionals” and “Marketing Practices”

as stated in the 2014 Code of Ethics, and were materially false and misleading for the same

reasons articulated in paragraphs 269 and 271, above.

       C.       Defendants Executed SOX Certifications
                Concerning the Company’s Internal Controls

       277.     In connection with each quarterly and annual report Alexion filed with the SEC

during the Class Period, Defendants Bell, Hallal, Sinha, Brennan, Anderson, and Hantson signed

SOX Certifications. Pursuant to Section 302 of SOX, and also covered by Sections 304 and 906

of SOX, Bell, Hallal, Sinha, Brennan, Anderson, and Hantson certified that they had designed

and evaluated effective internal and disclosure controls over financial reporting, which assured

the reliability of financial reporting, and also that the financial statements fairly and accurately

presented the financial condition of the Company.

       278.     For example, in connection with Alexion’s Forms 10-K filed on February 10,

2014 and February 6, 2015, Defendants Bell and Sinha each certified as follows:

       I . . . certify that:

       1        I have reviewed this Annual Report on Form 10-K for the year ended
                December 31, 2013 of Alexion Pharmaceuticals, Inc.;

       2        Based on my knowledge, this report does not contain any untrue statement
                of a material fact or omit to state a material fact necessary to make the
                statements made, in light of the circumstances under which such


                                                - 89 -
Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 94 of 115




     statements were made, not misleading with respect to the period covered
     by this report;

3    Based on my knowledge, the financial statements, and other financial
     information included in this report, fairly present in all material respects
     the financial condition, results of operations and cash flows of the
     registrant as of, and for, the periods presented in this report;

4    The registrant’s other certifying officer and I are responsible for
     establishing and maintaining disclosure controls and procedures (as defined
     in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over
     financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-
     15(f)) for the registrant and have:

     (a)    Designed such disclosure controls and procedures, or caused such
            disclosure controls and procedures to be designed under our
            supervision, to ensure that material information relating to the
            registrant, including its consolidated subsidiaries, is made known to
            us by others within those entities, particularly during the period in
            which this report is being prepared;

     (b)    Designed such internal control over financial reporting, or caused
            such internal control over financial reporting to be designed under
            our supervision, to provide reasonable assurance regarding the
            reliability of financial reporting and the preparation of financial
            statements for external purposes in accordance with generally
            accepted accounting principles;

     (c)    Evaluated the effectiveness of the registrant’s disclosure controls
            and procedures and presented in this report our conclusions about
            the effectiveness of the disclosure controls and procedures, as of the
            end of the period covered by this report based on such evaluation;
            and

     (d)    Disclosed in this report any change in the registrant’s internal
            control over financial reporting that occurred during the registrant’s
            most recent fiscal quarter (the registrant’s fourth fiscal quarter in the
            case of an annual report) that has materially affected, or is
            reasonably likely to materially affect, the registrant’s internal
            control over financial reporting; and

5    The registrant’s other certifying officer and I have disclosed, based on
     our most recent evaluation of internal control over financial reporting, to
     the registrant’s auditors and the audit committee of the registrant’s board
     of directors (or persons performing the equivalent functions):

     (a)    All significant deficiencies and material weaknesses in the design
            or operation of internal control over financial reporting which are

                                     - 90 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 95 of 115




                       reasonably likely to adversely affect the registrant’s ability to
                       record, process, summarize and report financial information; and

               (b)     Any fraud, whether or not material, that involves management or
                       other employees who have a significant role in the registrant’s
                       internal control over financial reporting.

       279.    Defendants Bell and Sinha also signed identical SOX Certifications in connection

with the Company’s Form 10-Qs filed on April 25, 2014; July 25, 2014; and October 24, 2014.

       280.    Defendants Hallal and Sinha also signed identical SOX Certifications in

connection with the Company’s Form 10-K filed on February 8, 2016, and the Company’s Forms

10-Q filed on April 24, 2015; July 31, 2015; November 2, 2015; April 29, 2016; July 29, 2016;

and November 9, 2016.

       281.    Defendants Brennan and Anderson also signed identical SOX Certifications in

connection with the Company’s Form 10-K filed on February 16, 2017.

       282.    Defendants Hantson and Anderson also signed identical SOX Certifications in

connection with the Company’s Form 10-Q filed on April 27, 2017.

       283.    The SOX Certifications signed by Defendants Bell, Hallal, Sinha, Brennan,

Anderson, and Hantson during the Class Period were materially false and misleading when made

because, as the Company has admitted, “there was a material weakness in the Company’s

internal controls over financial reporting because senior management did not set an appropriate

‘tone at the top’ for an effective control environment and such failure resulted in inappropriate

business conduct, including conduct that was inconsistent with, and in violation of, the

Company’s policies and procedures.”

       284.    The SOX Certifications signed by Defendants Bell, Hallal, Sinha, Brennan,

Anderson, and Hantson during the Class Period were materially false and misleading when made

because, as Interim CEO David Brennan admitted on March 6, 2017, “tone at the top was a



                                               - 91 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 96 of 115




material weakness for the Company”; “[a]s a Board, we were disappointed”; and “that’s

probably the biggest disappointment I think I’ve had as a Board member.”

        285.    The SOX Certifications were also materially false and misleading because, as new

CEO Ludwig Hanton admitted on April 27, 2017, Alexion’s “systems and processes did not keep

up pace” as the Company grew resulting in the Company’s “ma[king] changes in leadership

positions in key countries” and making “significant changes” on “the processes, marketing and

sales practices” including having “stopped supporting physicians traveling to medical

conferences” and “pausing and reflecting on how we deal with lab data in the U.S., and so on

and so on” in order “to be a business model that is compliant.”

        286.    Further, the SOX Certifications were false and misleading when made because,

contrary to the representation that the Company’s SEC filings did “not contain any untrue

statement of a material fact” or any material omission, the SEC filings to which these

certifications were appended contained numerous materially false and misleading statements and

omissions, as set forth elsewhere herein.

VI.     ADDITIONAL ALLEGATIONS OF SCIENTER

        287.    Numerous additional facts give rise to the strong inference of scienter that,

throughout the Class Period, Defendants were not only aware of the Company’s improper and

unsustainable business practices, but in fact were directly responsible for the improper “tone at

the top” that resulted in these practices.

        288.    First, the Company itself has already admitted as much. The Company explained

in its January 2016 SEC filings that its unethical marketing and sales practices were the result of

a “tone at the top”—in other words, that these practices were not merely pervasive, but were

actually directed from the highest levels of Company management.




                                                - 92 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 97 of 115




       289.    Second, Defendants knew as early as late 2014 that the Company’s Brazil

operations were “unethical,” when Alexion’s outside law firm, hired to review the Company’s

business practices in Brazil, concluded as much in a December 2014 confidential report.

       290.    Third, the large number of resignations by key executives of the Company during

the Class Period supports an inference that the Defendants acted with scienter. In this case, the

number of resignations in a short period of time is particularly striking: Between December

2016 and May 2017, Alexion announced the departure of (i) its CEO, (ii) two different CFOs,

(iii) its founder and Chairman of the Board, (iv) its Chief Compliance Officer, (v) its Chief

Commercial Officer, and (vi) two executive vice presidents.

       291.    What is more, these resignations are temporally connected to disclosures of the

Company’s fraud, which further supports an inference of scienter. Indeed, Defendants Hallal

and Sinha resigned on December 12, 2016, while the Company was conducting an investigation

into allegations made by a former employee that Company personnel had engaged in sales

practices that were inconsistent with company policies and procedures. Just weeks after these

resignations, on January 4, 2017, Alexion announced the results of the investigation, which

found that the Company had identified a material weakness in its internal controls, caused by

senior management not setting an appropriate “tone at the top.” The timing of Defendant

Hallal’s and Sinha’s resignations strongly indicate that they left the Company as a result of the

investigation’s findings.

       292.    Moreover, on May 23, 2017, just two weeks after the Company’s stock price

plummeted on news that its offices in Brazil were raided by government authorities, Alexion

announced a major change to its executive leadership team, which included the departure of

Defendant Anderson—the second CFO to resign in just six months. The proximity of this




                                               - 93 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 98 of 115




management shakeup to news of Brazil office raid strongly indicates that the two developments

are related and therefore further supports an inference of scienter.

       293.    Fourth, the Individual Defendants’ knowledge of these practices with respect to

the sales of Soliris can be inferred because these facts are critical to Alexion’s core operations.

Alexion is a “one drug” company that relied on sales of Soliris to generate substantially all of the

Company’s sales. Knowledge of Alexion’s sales practices with respect to Soliris—the

Company’s most important product—can therefore be inferred. This is particularly true for

Defendant Hallal, who was Alexion’s Chief Commercial Officer (i.e., the head of sales) before

becoming CEO. According to a January 29, 2015 Cowen analyst report, “Hallal . . . built and

has headed up Alexion’s commercial team since 2006 . . . .”

       294.    Fifth, Defendants’ motive to commit fraud can be inferred from the Company’s

June 2015 acquisition of Synageva, which the Company purchased for $8.4 million in cash and

inflated-Alexion stock. Pursuant to the deal, Alexion paid $115.00 in cash and 0.6581 Alexion

shares for each Synageva share, which, according to market estimates, corresponded to $4.2

billion in cash and $4.2 billion in Company stock as consideration for the acquisition. This

means that Alexion relied on the inflated value of Alexion shares to fund the acquisition—a deal

that was critical to the Company’s efforts to diversify its product offerings in light of the

forthcoming expiration of Soliris patents and arrival of a competitor drug. In short, Defendants

were motivated to engage in the alleged fraud in order to fund the Synageva acquisition.

       295.    Sixth, Defendant Bell engaged in stock sales during the Class Period that were

suspiciously timed and out of line with his prior trading practices. As a result of these Class

Period trades, Bell profited from the artificial inflation embedded in the trading price of Alexion

stock caused by the Defendants’ false and misleading statements and omission to investors




                                                - 94 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 99 of 115




during the Class Period. Bell’s Class Period sales of Alexion stock were highly unusual and

suspicious as measured by (i) profits and the total amount and percentage of shares disposed,

(ii) the contrast with his prior trading history, and (iii) the timing of the sales. Bell’s sales

therefore raise a strong inference of scienter.

        296.    To evaluate Defendant Bell’s stock selling activity, Lead Plaintiffs used the

publicly available trading data that Bell reported to the SEC on Forms 4 and 5. Lead Plaintiff

analyzed the trading by Bell from the beginning of the Class Period through March 10, 2017—

the date on which Bell resigned from the Board. Lead Plaintiff then compared that trading to

Bell’s trading during an equal time period immediately preceding the Class Period (the “Control

Period”).

        297.    To analyze Bell’s stock sales, Lead Plaintiffs examined the amount of shares Bell

held at the start and end of both periods—making certain adjustments to account for a stock split

and transactions reported out of chronological order on Form 5. Lead Plaintiffs also calculated

total, non-tax related sales by Bell, together with the cash proceeds from such sales and the cost

of exercising options, during the Class Period and the Control Period. These amounts and totals

were then compared and evaluated in context of the corrective disclosure dates. All of this

analysis reveals that Bell’s sales were extremely large, highly unusual, and suspicious. During

the Class Period, Bell decreased his total shareholdings by over 485,000 shares or

approximately 55.39% compared to a 49.58% decrease in the Control Period:




                                                  - 95 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 100 of 115




      Start of Control         End of Control            Start of Class         End of Class Period
     Period Holdings11        Period Holdings12        Period Holdings13            Holdings14
         1,737,002                 875,797                  875,797                  390,670

         298.     More dramatically, by virtue of the artificially inflated price of Alexion stock,

Bell received over $225 million in profits from his Class Period sales. Those profits

represented a 33% increase over the profits he saw in the Control Period:

     Numbers of
                        Cost of Option        Number of         Gross Proceeds
       Options                                                                         Net Profits
                          Exercises          Shares Sold15       from Sales16
      Exercised
                                            Control Period
       878,804            $6,360,425          1,636,128           $175,600,866        $169,240,441
                                             Class Period
      1,246,728           $21,931,821       1,455,160,197         $247,198,439        $225,266,618

         299.     Towards the end of the Class Period, as corrective disclosures began, the

suspicious timing of Bell’s Class Period stock sales did not go unnoticed by the market. As

described above, on November 8, 2016, analysts at Lerrink reported that Defendant Bell made a

“significant stock sale” yielding “a profit of $4.4mm” just as the first corrective disclosure was

entering the market, i.e., November 4, 2016.

         300.     Defendant Bell’s stock sales were purportedly made pursuant to a Rule 10b5-1

trading plan. On June 3, 2002, it was first disclosed that Defendant Bell had entered into a 10b5-




11
   Bell Form 4 dated July 19, 2010 (adjusted for May 20, 2011 2:1 stock split).
12
   Bell Form 4 dated January 31, 2014 (adjusted for transactions reported on Form 5 dated
February 14, 2014).
13
   Bell Form 4 dated February 4, 2014 (adjusted for transactions reported on Form 5 dated
February 14, 2014).
14
   Bell Form 4 dated March 1, 2017.
15
   Calculation excludes shares gifted and shares sold for tax purposes according to Defendant
Bell’s Forms 4 and 5.
16
   Amount calculated from the weighted average sales prices reported on Bell’s Forms 4 and 5.


                                                  - 96 -
      Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 101 of 115




1 trading plan “to sell up to 25,000 shares of Alexion common stock provided “the Company’s

stock is trading above certain designated prices.” Other terms of the trading plan are not public.

       301.    The fact that Bell sold shares pursuant to a 10b5-1 trading plan does not give him

unlimited protection from liability, especially here since he was in possession of material,

nonpublic information at the time the plan was amended or modified. Between entering into the

plan in 2002 and the start of the Class Period, Bell modified his trading plan three times, yet at

the outset of the Class Period—on April 30, 2014 and July 30, 2014—he modified his plan twice

in short order so that he could sell an additional 457,460 shares. Thus, the trading plan provides

Bell with no safe harbor.

       302.    Seventh, Alexion’s “executive compensation program” provided the Individual

Defendants additional motivation to engage in illegal and improper sales tactics to boost the

Company’s revenue. According to Alexion’s March 31, 2016 Proxy Statement filed on Schedule

14A (the “2016 Proxy”), Defendants Bell, Hallal, Sinha, and Thiel each stood to receive

“performance share units (PSUs)” as part of their “performance-based compensation” for 2015.

“[A]ssuming that the highest level of performance conditions [was] achieved,” the Individual

Defendants stood to receive the following 2015 PSU awards: “$9,323,198 for Dr. Bell,

$29,849,133 for Mr. Hallal, . . . $8,268,823 for . . . Mr. Sinha, and $6,188,724 for Dr. Thiel.”

       303.    According to the 2016 Proxy, the “2015 PSUs [were] only earned if pre-

established financial targets [were] achieved . . . .” These financial targets made 80% of the

PSUs “dependent on the achievement of Alexion’s revenue and non-GAAP EPS targets, which

were equally rated”—i.e., revenue (40%) and non-GAAP EPS (40%). The 2015 PSU awards

were tied to the “degree of attainment” of series of incremental 2015 revenue “goals,” including

a “Threshold” of $2.510 billion, a “Target” of $2.570 billion, and a “Maximum” of $2.670




                                               - 97 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 102 of 115




billion. The Company’s actual 2015 results were $2.602 billion, which the 2016 Proxy describes

as “101%” “of Target.”

       304.    As discussed above in Section IV.E., the Company has admitted that it achieved

between $10 and $17 million of revenue in the fourth quarter of 2015 through inappropriate pull-

in sales. In light of the Company’s incremental 2015 PSU revenue goals, these inappropriate

sales directly affected the amount of 2015 PSUs received by Defendants Bell, Hallal, Sinha,

Thiel, and other members of senior management

       305.    Eighth, during the Class Period, Defendants Bell, Hallal, Sinha, Brennan,

Anderson, and Hantson reviewed, approved, and signed Alexion’s false and misleading SEC

filings and SOX Certifications. These SOX Certifications purported to confirm the accuracy of

the financial statements and stated that the Company had designed effective internal controls that

“provide reasonable assurance regarding the reliability of financial reporting and the preparation

of financial statements for external purposes in accordance with generally accepted accounting

principles.” Because, as detailed herein, the financial statements included material inaccuracies,

and also because the Company admitted that it had experienced a material weakness in its

internal controls, the SOX Certifications signed by Defendants Bell, Hallal, Sinha, Brennan,

Anderson, and Hantson were materially false and misleading.

VII.   LOSS CAUSATION

       306.    During the Class Period, as detailed herein, Defendants engaged in a course of

conduct that artificially inflated the price of Alexion common stock and operated as a fraud or

deceit on Class Period purchasers of Alexion common stock by failing to disclose and

misrepresenting the inappropriate sales practices detailed herein. As Defendants’ prior

misrepresentations and fraudulent conduct were disclosed and became apparent to the market,




                                              - 98 -
      Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 103 of 115




the price of Alexion common stock declined significantly as the prior artificial inflation came out

of the Company’s stock price.

       307.    As a result of their purchases of Alexion common stock during the Class Period,

Lead Plaintiffs and the other Class members suffered economic loss (i.e., damages) under the

federal securities laws. Defendants’ false and misleading statements had the intended effect and

caused Alexion common stock to trade at artificially inflated levels throughout the Class Period,

reaching as high as $208.88 per share on July 23, 2015.

       308.    By concealing from investors the adverse facts detailed herein, Defendants

presented a misleading picture of Alexion’s business and prospects. As the truth about the

Company was revealed to the market, the price of Alexion common stock fell significantly.

These declines removed the inflation from the price of Alexion common stock, causing real

economic loss to investors who had purchased Alexion common stock during the Class Period.

       309.    The declines in the price of Alexion common stock after the corrective disclosures

came to light were a direct result of the nature and extent of Defendants’ fraudulent

misrepresentations being revealed to investors and the market. The timing and magnitude of the

price declines in Alexion common stock negate any inference that the loss suffered by Lead

Plaintiffs and the other Class members was caused by changed market conditions,

macroeconomic or industry factors or Company-specific facts unrelated to Defendants’

fraudulent conduct.

       310.    During the Class Period, the price of Alexion stock declined as the true state of

Alexion’s operations was revealed to the investing public. In that regard, from Alexion’s

November 4, 2016 announcement that it had cancelled its appearance at the Credit Suisse

Healthcare Conference because “something came up,” to the May 24, 2017 Bloomberg article




                                              - 99 -
         Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 104 of 115




reporting that “[e]thical lines were routinely crossed” by Alexion’s “sales staff,” the Company’s

stock declined more than 30% (from an intraday high of $145.41 on November 4, 2016 to close

at $101.08 on May 24, 2017)—wiping out nearly $10 billion in shareholder value.

         311.   The economic loss, i.e., damages, suffered by Lead Plaintiffs and the other Class

members was a direct result of Defendants’ fraudulent scheme to artificially inflate the price of

Alexion common stock and the subsequent significant decline in the value of Alexion common

stock when Defendants’ prior misrepresentations and other fraudulent conduct were revealed.

VIII. PRESUMPTION OF RELIANCE

         312.   At all relevant times, the market for Alexion’s common stock was efficient for the

following reasons, among others:

                (a)    Alexion’s stock met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;

                (b)    As a regulated issuer, Alexion filed periodic reports with the SEC and

NASDAQ;

                (c)    Alexion regularly communicated with public investors via established

market communication mechanisms, including through regular disseminations of press releases

on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and

                (d)    Alexion was followed by numerous securities analysts employed by major

brokerage firms who wrote reports which were distributed to those brokerage firms’ sales force

and certain customers. Each of these reports was publicly available and entered the public market

place.




                                              - 100 -
        Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 105 of 115




        313.   As a result of the foregoing, the market for Alexion stock reasonably promptly

digested current information regarding Alexion from all publicly available sources and reflected

such information in Alexion’s stock price. Under these circumstances, all purchasers of Alexion

common stock during the Class Period suffered similar injury through their purchase of Alexion

common stock at artificially inflated prices, and a presumption of reliance applies.

        314.   Further, to the extent that the Defendants concealed or improperly failed to

disclose material facts with regard to the Company, Lead Plaintiffs are entitled to a presumption

of reliance in accordance with Affiliated Ute Citizens v. United States, 406 U.S. 128, 153 (1972).

IX.     INAPPLICABILITY OF THE STATUTORY SAFE
        HARBOR AND BESPEAKS CAUTION DOCTRINE

        315.   The statutory safe harbor and/or bespeaks caution doctrine applicable to forward-

looking statements under certain circumstances does not apply to any of the allegedly false

statements pleaded in this Consolidated Complaint.

        316.   Defendants acted with scienter because at the time that they issued public

documents and other statements in the Company’s name they knew, or with extreme recklessness

disregarded, the fact that such statements were materially false and misleading or omitted

material facts. Moreover, Defendants knew such documents and statements would be issued or

disseminated to the investing public, knew that persons were likely to rely upon those

misrepresentations and omissions, and knowingly and recklessly participated in the issuance and

dissemination of such statements and documents as primary violators of the federal securities

laws.

        317.   As set forth in detail throughout this Consolidated Complaint, Defendants, by

virtue of their control over, and/or receipt of, the Company’s materially misleading statements

and their positions with the Company that made them privy to confidential proprietary



                                              - 101 -
      Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 106 of 115




information, used such information to artificially inflate the Company’s financial results.

Defendants were informed of, participated in, and knew of the improprieties and unlawful

conduct alleged herein and understood their material effect on the Company’s business and

future prospects. With respect to non-forward-looking statements and omissions, Defendants

knew and recklessly disregarded the falsity and misleading nature of that information, which

they caused to be disseminated to the investing public.

       318.    Alternatively, to the extent that the statutory safe harbor applies to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because, at the time each of those forward-looking statements was made, the

particular speaker knew that the particular forward-looking statement was false and/or the

forward-looking statement was authorized and/or approved by an executive officer of the

Company who knew that those statements were false when made. Moreover, to the extent that

Defendants issued any disclosures designed to “warn” or “caution” investors of certain “risks,”

those disclosures were also false and misleading because they did not disclose that Defendants

were actually engaging in the very actions about which they purportedly warned and/or had

actual knowledge of material adverse facts undermining such disclosures.

X.     CLASS ACTION ALLEGATIONS

       319.    Lead Plaintiffs bring this action on their own behalf and as a class action pursuant

to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf of a class consisting

of all persons and entities who purchased or otherwise acquired the publicly traded common

stock of Alexion from January 30, 2014 to May 26, 2017 (the “Class”). Excluded from the Class

are: Defendants; members of the immediate families of the Individual Defendants; Alexion’s

subsidiaries and affiliates; any person who is or was an officer or director of Alexion or any of

the Company’s subsidiaries or affiliates during the Class Period; any entity in which any


                                              - 102 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 107 of 115




Defendant has a controlling interest; and the legal representatives, heirs, successors, and assigns

of any such excluded person or entity.

        320.    The members of the Class are so numerous that joinder of all members is

impracticable. During the Class Period, Alexion had between approximately 197 and 224

million shares of common stock outstanding and actively trading on the NASDAQ. While the

exact number of Class members is unknown to Lead Plaintiffs at this time and can only be

ascertained through appropriate discovery, Lead Plaintiffs believe that the proposed Class

numbers in the thousands and is geographically widely dispersed. Record owners and other

members of the Class may be identified from records maintained by the Company or its transfer

agent and may be notified of the pendency of this action by mail, using a form of notice similar

to that customarily used in securities class actions.

        321.    Lead Plaintiffs’ claims are typical of the claims of the members of the Class. All

members of the Class were similarly affected by Defendants’ allegedly wrongful conduct in

violation of the Exchange Act as complained of herein.

        322.    Lead Plaintiffs will fairly and adequately protect the interests of the members of

the Class. Lead Plaintiffs have retained counsel competent and experienced in class and

securities litigation.

        323.    Common questions of law and fact exist as to all members of the Class, and

predominate over any questions solely affecting individual members of the Class. The questions

of law and fact common to the Class include:

                (a)      whether the federal securities laws were violated by Defendants’ acts and

omissions as alleged herein;




                                               - 103 -
      Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 108 of 115




                 (b)    whether the statements made to the investing public during the Class

Period contained material misrepresentations or omitted to state material information;

                 (c)    whether and to what extent the market price of Alexion’s common stock

was artificially inflated during the Class Period because of the material misstatements alleged

herein;

                 (d)    whether Defendants acted with the requisite level of scienter;

                 (e)    whether the Individual Defendants were controlling persons of the

Company;

                 (f)    whether reliance may be presumed; and

                 (g)    whether the members of the Class have sustained damages as a result of

the conduct complained of herein and, if so, the proper measure of damages.

          324.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy because, among other things, joinder of all members of the Class

is impracticable. Furthermore, because the damages suffered by individual Class members may

be relatively small, the expense and burden of individual litigation make it impossible for

members of the Class to individually redress the wrongs done to them. There will be no

difficulty in the management of this action as a class action.

XI.       CAUSES OF ACTION

                                        COUNT I
             FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
                AND SEC RULE 10b-5 PROMULGATED THEREUNDER
                 (Against Defendant Alexion and the Individual Defendants)

          325.   Lead Plaintiffs repeat and re-allege every allegation set forth above as if fully set

herein.




                                                 - 104 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 109 of 115




       326.    This Count is asserted on behalf of all members of the Class against Defendant

Alexion and the Individual Defendants for violations of Section 10(b) of the Exchange Act, 15

U.S.C. § 78j(b) and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

       327.    During the Class Period, Defendants disseminated or approved the false

statements specified herein, among others, which they knew or deliberately disregarded were

misleading in that they contained misrepresentations and failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

       328.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

they: (a) employed devices, schemes, and artifices to defraud; (b) made untrue statements of

material facts or omitted to state material facts necessary in order to make the statements made,

in light of the circumstances under which they were made, not misleading; and/or (c) engaged in

acts, practices, and a course of business that operated as a fraud or deceit upon Lead Plaintiffs

and others similarly situated in connection with their purchases of Alexion common stock during

the Class Period. As detailed herein, the misrepresentations contained in, or the material facts

omitted from, those statements included, but were not limited to the following:

               (a)     Defendants reported strong and growing sales of Soliris, and attributed

those results to entirely legitimate business practices and operational factors, but failed to

disclose that the key drivers of those results were instead directly attributable to the Company’s

use of illegal and improper sales and marketing tactics, which Defendants had an obligation to

disclose.

               (b)     Defendants issued full-year guidance to investors, which included

projected sales of Soliris, and the Company provided updates each quarter as to whether the




                                               - 105 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 110 of 115




Company was on track to meet such projections, but failed to disclose that these projections

rested on the assumption that Alexion would continue to use unsustainable, illegal, and improper

sales tactics.

                 (c)     Defendants made statements about the Company’s Brazilian operations,

but failed to disclose that that the Company relied on the unsustainable use of illegal and

improper sales tactics in Brazil, including working with patient advocacy groups to file

fraudulent lawsuits aimed at obtaining government reimbursement for sales of Soliris in

circumstances involving inconclusive and fake diagnoses of PNH and aHUS, and delaying

registration of Soliris in Brazil to avoid negotiating with the government on price—practices that

were key to the Company’s Brazil operations, which an outside law firm, hired by Alexion,

concluded were “unethical.”

                 (d)     Defendants repeatedly assured the market that it was achieving its

impressive revenue targets while it remained “committed to complying with all applicable laws,

regulations and adhering to the highest ethical standards in every country in which we operate,”

but failed to disclose that it had actually been relying on illegal and improper sales and marketing

practices to sell Soliris.

                 (e)     Defendants signed SOX Certifications in connection with each quarterly

and annual report, certifying that, among other things, they had designed and evaluated effective

internal controls over financial reporting, despite that there was a material weakness in the

Company’s internal controls.

        329.     Defendants, individually and in concert, directly and indirectly, by the use of

means or instrumentalities of interstate commerce and/or of the mails, engaged and participated

in a continuous course of conduct that operated as a fraud and deceit upon Lead Plaintiffs and the




                                                - 106 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 111 of 115




Class; made various untrue and/or misleading statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; made the above statements intentionally or with a

severely reckless disregard for the truth; and employed devices and artifices to defraud in

connection with the purchase and sale of Alexion common stock, which were intended to, and

did: (a) deceive the investing public, including Lead Plaintiffs and the Class, regarding, among

other things, the tactics used to generate sales of Soliris; (b) artificially inflate and maintain the

market price of Alexion’s securities; and (c) cause Lead Plaintiffs and other members of the

Class to purchase Alexion common stock at artificially inflated prices and suffer losses when the

true facts became known.

        330.    Defendant Alexion is liable for all materially false and misleading statements

made during the Class Period, as alleged above.

        331.    The Individual Defendants are liable for the false and misleading statements they

made and for which they were responsible, as alleged above.

        332.    As described above, the Defendants acted with scienter throughout the Class

Period, in that they acted either with intent to deceive, manipulate, or defraud, or with severe

recklessness. The misrepresentations and omissions of material facts set forth herein, which

presented a danger of misleading buyers or sellers of Alexion stock, were either known to the

Defendants or were so obvious that the Defendants should have been aware of them.

        333.    The above allegations, as well as the allegations pertaining to the overall scope

and breadth of the fraud at Alexion, establish a strong inference that Defendants acted with

scienter in making the materially false and misleading statements set forth above during the

Class Period.




                                                - 107 -
      Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 112 of 115




          334.   Lead Plaintiffs and the Class have suffered damages in that, in direct reliance on

the integrity of the market, they paid artificially inflated prices for Alexion common stock, which

inflation was removed from their price when the true facts became known. Lead Plaintiffs and

the Class would not have purchased Alexion common stock at the prices they paid, or at all, if

they had been aware that the market price had been artificially and falsely inflated by these

Defendants’ misleading statements.

          335.   As a direct and proximate result of these Defendants’ wrongful conduct, Lead

Plaintiffs and the other members of the Class suffered damages attributable to the fraud alleged

herein in connection with their purchases of Alexion common stock during the Class Period.

                                         COUNT II
          FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
     (Against Defendants Bell, Hallal, Sinha, Brennan, Anderson, Hantson, and Thiel)

          336.   Lead Plaintiffs repeat and re-allege every allegation set forth above as if fully set

herein.

          337.   This Count is asserted on behalf of all members of the Class against each of the

Individual Defendants for violations of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

          338.   During their tenures as officers and/or directors of Alexion, each of these

Defendants was a controlling person of the Company within the meaning of Section 20(a) of the

Exchange Act. By reason of their positions of control and authority as officers and/or directors

of Alexion, these Defendants had the power and authority to direct the management and

activities of the Company and its employees, and to cause the Company to engage in the

wrongful conduct complained of herein. These Defendants were able to and did control, directly

and indirectly, the content of the public statements made by Alexion during the Class Period,

including its materially misleading financial statements, thereby causing the dissemination of the

false and misleading statements and omissions of material facts as alleged herein.


                                                - 108 -
       Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 113 of 115




       339.    In their capacities as senior corporate officers of the Company, and as more fully

described above, the Individual Defendants had direct involvement in the day-to-day operations

of the Company, in reviewing and managing its regulatory and legal compliance, and in its

accounting and reporting functions. Defendants Bell, Hallal, Sinha, Brennan, Anderson, and

Hantson signed the Company’s SEC filings during the Class Period, and were directly involved

in providing false information and certifying and/or approving the false statements disseminated

by Alexion during the Class Period. As a result of the foregoing, the Individual Defendants, as a

group and individually, were controlling persons of Alexion within the meaning of Section 20(a)

of the Exchange Act.

       340.    As set forth above, Alexion violated Section 10(b) of the Exchange Act by its acts

and omissions as alleged in this Complaint. By virtue of their positions as controlling persons of

Alexion and as a result of their own aforementioned conduct, the Individual Defendants are

liable pursuant to Section 20(a) of the Exchange Act, jointly and severally with, and to the same

extent as, the Company is liable under Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder, to Lead Plaintiffs and the other members of the Class who purchased or

otherwise acquired Alexion common stock. Moreover, as detailed above, during the respective

times these Defendants served as officers and/or directors of Alexion, each of these Defendants

was culpable for the material misstatements and omissions made by Alexion, including such

misstatements as the Company’s false financial statements, as set forth above.

       341.    As a direct and proximate result of these Defendants’ conduct, Lead Plaintiffs and

the other members of the Class suffered damages in connection with their purchase or acquisition

of Alexion common stock.

XII.   PRAYER FOR RELIEF

       WHEREFORE, Lead Plaintiffs pray relief and judgment as follows:


                                             - 109 -
      Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 114 of 115




               (a)      Declaring the action to be a proper class action pursuant to

Fed. R. Civ. P. 23;

               (b)      Awarding compensatory damages in favor of Lead Plaintiffs and the other

Class members against all Defendants, jointly and severally, for all damages sustained as a result

of Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

               (c)      Awarding Lead Plaintiffs and the Class their reasonable costs and

expenses incurred in this action, including attorneys’ fees and expert fees; and

               (d)      Awarding such equitable, injunctive, and other relief as the Court may

deem just and proper.

XIII. JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury of all issues so triable.


DATED: July 14, 2017
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                                               - 110 -
Case 3:16-cv-02127-AWT Document 63 Filed 07/14/17 Page 115 of 115




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                             - 111 -
